                               Caseyour
 Fill in this information to identify 18-40950
                                          case:     Doc 1       Filed 05/05/18        Entered 05/05/18 09:44:28   Desc Main Document             Page 1 of 66

 United States Bankruptcy Court for the:

                  Eastern District of Texas

 Case number (If known):                             Chapter you are filing under:
                                                     ❑         Chapter 7
                                                     ❑         Chapter 11
                                                     ❑         Chapter 12
                                                     ✔
                                                     ❑         Chapter 13                                                                         ❑Check if this is an
                                                                                                                                                     amended filing



Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                                 12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint case—and in joint
cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer would be yes if either debtor owns
a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In joint cases, one of the
spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1: Identify Yourself

                                                  About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case):
  1.   Your full name

       Write the name that is on your             John
       government-issued picture                  First name                                                         First name
       identification (for example, your
       driver’s license or passport).
                                                  Middle name                                                        Middle name
       Bring your picture identification to       Rutledge
       your meeting with the trustee.             Last name                                                          Last name


                                                  Suffix (Sr., Jr, II, III)                                          Suffix (Sr., Jr, II, III)




  2.   All other names you have used
       in the last 8 years
                                                  First name                                                         First name
       Include your married or maiden
       names.                                     Middle name                                                        Middle name


                                                  Last name                                                          Last name




                                                  First name                                                         First name


                                                  Middle name                                                        Middle name


                                                  Last name                                                          Last name




  3.   Only the last 4 digits of your
                                                  xxx - xx - 3        8       9   7                                  xxx - xx -
       Social Security number or
       federal Individual Taxpayer                OR                                                                 OR
       Identification number                      9xx - xx -                                                         9xx - xx -
       (ITIN)




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                                                                                                                        Case number (if known)
                     First Name          Middle Name                  Last Name




                                          About Debtor 1:                                                        About Debtor 2 (Spouse Only in a Joint Case):


  4.   Any business names and
       Employer Identification            ✔I have not used any business names or EINs.
                                          ❑                                                                      ❑I have not used any business names or EINs.
       Numbers (EIN) you have used
       in the last 8 years

       Include trade names and doing      Business name                                                          Business name
       business as names

                                          Business name                                                          Business name


                                                       -                                                                      -
                                          EIN                                                                    EIN


                                                       -                                                                      -
                                          EIN                                                                    EIN




                                                                                                                 If Debtor 2 lives at a different address:
  5.   Where you live
                                          3268 Woodbine Trail
                                          Number             Street                                              Number            Street




                                          Frisco, TX 75034
                                          City                                     State     ZIP Code            City                                     State     ZIP Code

                                          Denton
                                          County                                                                 County

                                          If your mailing address is different from the one above, fill If Debtor 2's mailing address is different from the one
                                          it in here. Note that the court will send any notices to you at above, fill it in here. Note that the court will send any notices
                                          this mailing address.                                           to you at this mailing address.


                                          Number             Street                                              Number            Street



                                          P.O. Box                                                               P.O. Box



                                          City                                     State     ZIP Code            City                                     State     ZIP Code




  6.   Why you are choosing this          Check one:                                                             Check one:
       district to file for bankruptcy
                                          ✔
                                          ❑      Over the last 180 days before filing this petition, I have      ❑      Over the last 180 days before filing this petition, I have
                                                 lived in this district longer than in any other district.              lived in this district longer than in any other district.

                                          ❑      I have another reason. Explain.                                 ❑      I have another reason. Explain.
                                                 (See 28 U.S.C. § 1408)                                                 (See 28 U.S.C. § 1408)




Official Form 101                                          Voluntary Petition for Individuals Filing for Bankruptcy                                                             page 2
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                                                                                                                   Case number (if known)
                    First Name           Middle Name                 Last Name


 Part 2: Tell the Court About Your Bankruptcy Case


                                         Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
  7.   The chapter of the Bankruptcy     (Form B2010)). Also, go to the top of page 1 and check the appropriate box.
                                         ❑
       Code you are choosing to file
       under                                   Chapter 7
                                         ❑     Chapter 11
                                         ❑     Chapter 12
                                         ✔
                                         ❑     Chapter 13




  8.   How you will pay the fee          ❑   I will pay the entire fee when I file my petition. Please check with the clerk's office in your local court for more details
                                             about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier's check, or money
                                             order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                             a pre-printed address.
                                         ✔
                                         ❑   I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                             Your Filing Fee in Installments (Official Form 103A).

                                         ❑   I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                             but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line
                                             that applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill
                                             out the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.




                                         ✔ No.
                                         ❑
  9.   Have you filed for bankruptcy
       within the last 8 years?          ❑Yes.     District                                          When                          Case number
                                                                                                            MM / DD / YYYY

                                                   District                                          When                          Case number
                                                                                                            MM / DD / YYYY

                                                   District                                          When                          Case number
                                                                                                            MM / DD / YYYY



                                         ✔ No.
                                         ❑
  10. Are any bankruptcy cases
       pending or being filed by a       ❑Yes.     Debtor                                                                       Relationship to you
       spouse who is not filing this
       case with you, or by a business             District                                      When                           Case number, if known
       partner, or by an affiliate?                                                                     MM / DD / YYYY


                                                   Debtor                                                                       Relationship to you

                                                   District                                      When                           Case number, if known
                                                                                                        MM / DD / YYYY



                                         ✔
                                         ❑   No.    Go to line 12.
  11. Do you rent your residence?
                                         ❑   Yes. Has your landlord obtained an eviction judgment against you?

                                                    ❑   No. Go to line 12.

                                                    ❑   Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part
                                                        of this bankruptcy petition.




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                                                                                                                          Case number (if known)
                      First Name              Middle Name               Last Name


 Part 3: Report About Any Businesses You Own as a Sole Proprietor

                                              ✔
                                              ❑   No. Go to Part 4.
  12. Are you a sole proprietor of any
      full- or part-time business?            ❑   Yes. Name and location of business

      A sole proprietorship is a business
      you operate as an individual, and is        Name of business, if any
      not a separate legal entity such as
      a corporation, partnership, or LLC.
                                                  Number           Street
      If you have more than one sole
      proprietorship, use a separate
      sheet and attach it to this petition.

                                                  City                                                       State         ZIP Code

                                                  Check the appropriate box to describe your business:

                                                  ❑      Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                                  ❑      Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                                  ❑      Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                                  ❑      Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                                  ❑      None of the above




                                     If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
  13. Are you filing under Chapter 11deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
      of the Bankruptcy Code and are operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure in
      you a small business debtor?   11 U.S.C. § 1116(1)(B).
      For a definition of small business      ✔
                                              ❑   No.        I am not filing under Chapter 11.
      debtor, see 11 U.S.C. § 101(51D).
                                              ❑   No.        I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the
                                                             Bankruptcy Code.

                                              ❑   Yes.       I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy
                                                             Code.


 Part 4: Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

                                              ✔
                                              ❑   No.
  14. Do you own or have any
      property that poses or is               ❑   Yes.     What is the hazard?
      alleged to pose a threat of
      imminent and identifiable
      hazard to public health or
      safety? Or do you own any
      property that needs immediate                        If immediate attention is needed, why is it needed?
      attention?

      For example, do you own
      perishable goods, or livestock that
      must be fed, or a building that                      Where is the property?
      needs urgent repairs?
                                                                                    Number          Street




                                                                                      City                                               State               ZIP Code




Official Form 101                                             Voluntary Petition for Individuals Filing for Bankruptcy                                                     page 4
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                                                                                                                          Case number (if known)
                     First Name            Middle Name                  Last Name


 Part 5: Explain Your Efforts to Receive a Briefing About Credit Counseling


  15. Tell the court whether you          About Debtor 1:                                                         About Debtor 2 (Spouse Only in a Joint Case):
      have received a briefing
      about credit counseling.

      The law requires that you           You must check one:                                                     You must check one:
                                          ✔
      receive a briefing about credit
      counseling before you file for      ❑    I received a briefing from an approved credit counseling           ❑    I received a briefing from an approved credit counseling
      bankruptcy. You must truthfully          agency within the 180 before I filed this bankruptcy petition,          agency within the 180 before I filed this bankruptcy petition,
      check one of the following               and I received a certificate of completion.                             and I received a certificate of completion.
      choices. If you cannot do so, you        Attach a copy of the certificate and the payment plan, if               Attach a copy of the certificate and the payment plan, if
      are not eligible to file.                any, that you developed with the agency.                                any, that you developed with the agency.

      If you file anyway, the court can   ❑    I received a briefing from an approved credit counseling           ❑    I received a briefing from an approved credit counseling
      dismiss your case, you will lose         agency within the 180 days before I filed this bankruptcy               agency within the 180 days before I filed this bankruptcy
      whatever filing fee you paid, and        petition, but I do not have a certificate of completion.                petition, but I do not have a certificate of completion.
      your creditors can begin                 Within 14 days after you file this bankruptcy petition, you             Within 14 days after you file this bankruptcy petition, you
      collection activities again.             MUST file a copy of the certificate and payment plan, if                MUST file a copy of the certificate and payment plan, if
                                               any.                                                                    any.

                                          ❑    I certify that I asked for credit counseling services from an      ❑    I certify that I asked for credit counseling services from an
                                               approved agency, but was unable to obtain those services                approved agency, but was unable to obtain those services
                                               during the 7 days after I made my request, and exigent                  during the 7 days after I made my request, and exigent
                                               circumstances merit a 30-day temporary waiver of the                    circumstances merit a 30-day temporary waiver of the
                                               requirement.                                                            requirement.
                                               To ask for a 30-day temporary waiver of the requirement,                To ask for a 30-day temporary waiver of the requirement,
                                               attach a separate sheet explaining what efforts you made                attach a separate sheet explaining what efforts you made
                                               to obtain the briefing, why you were unable to obtain it                to obtain the briefing, why you were unable to obtain it
                                               before you filed for bankruptcy, and what exigent                       before you filed for bankruptcy, and what exigent
                                               circumstances required you to file this case.                           circumstances required you to file this case.

                                               Your case may be dismissed if the court is dissatisfied                 Your case may be dismissed if the court is dissatisfied
                                               with your reasons for not receiving a briefing before you               with your reasons for not receiving a briefing before you
                                               filed for bankruptcy.                                                   filed for bankruptcy.

                                               If the court is satisfied with your reasons, you must still             If the court is satisfied with your reasons, you must still
                                               receive a briefing within 30 days after you file.                       receive a briefing within 30 days after you file.
                                               You must file a certificate from the approved agency,                   You must file a certificate from the approved agency,
                                               along with a copy of the payment plan you developed, if                 along with a copy of the payment plan you developed, if
                                               any. If you do not do so, your case may be dismissed.                   any. If you do not do so, your case may be dismissed.

                                               Any extension of the 30-day deadline is granted only for                Any extension of the 30-day deadline is granted only for
                                               cause and is limited to a maximum of 15 days.                           cause and is limited to a maximum of 15 days.

                                          ❑    I am not required to receive a briefing about credit               ❑    I am not required to receive a briefing about credit
                                               counseling because of:                                                  counseling because of:
                                               ❑      Incapacity. I have a mental illness or a mental                  ❑    Incapacity. I have a mental illness or a mental
                                                                  deficiency that makes me incapable                                    deficiency that makes me incapable
                                                                  of realizing or making rational                                       of realizing or making rational
                                                                  decisions about finances.                                             decisions about finances.
                                               ❑      Disability.   My physical disability causes me to                ❑    Disability.   My physical disability causes me to
                                                                    be unable to participate in a briefing                                be unable to participate in a briefing
                                                                    in person, by phone, or through the                                   in person, by phone, or through the
                                                                    internet, even after I reasonably tried                               internet, even after I reasonably tried
                                                                    to do so.                                                             to do so.
                                               ❑      Active duty. I am currently on active military duty in           ❑    Active duty. I am currently on active military duty in
                                                                   a military combat zone.                                               a military combat zone.

                                               If you believe you are not required to receive a briefing               If you believe you are not required to receive a briefing
                                               about credit counseling, you must file a motion for waiver              about credit counseling, you must file a motion for waiver
                                               of credit counseling with the court.                                    of credit counseling with the court.




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                     First Name             Middle Name                 Last Name


 Part 6: Answer These Questions for Reporting Purposes


                                            16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by
  16. What kind of debts do you                  an individual primarily for a personal, family, or household purpose.”
      have?
                                                   ❑      No. Go to line 16b.
                                                   ✔
                                                   ❑      Yes. Go to line 17.

                                            16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain money for a
                                                 business or investment or through the operation of the business or investment.

                                                   ❑      No. Go to line 16c.

                                                   ❑      Yes. Go to line 17.

                                            16c. State the type of debts you owe that are not consumer debts or business debts.



  17. Are you filing under Chapter 7?       ✔
                                            ❑      No. I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after any        ❑      Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative
      exempt property is excluded                       expenses are paid that funds will be available to distribute to unsecured creditors?
      and administrative expenses
      are paid that funds will be                            ❑    No
      available for distribution to
      unsecured creditors?                                   ❑    Yes

                                             ✔
                                             ❑     1-49                         ❑   1,000-5,000                              ❑     25,001-50,000
  18. How many creditors do you              ❑     50-99                        ❑   5,001-10,000                             ❑     50,000-100,000
                                             ❑                                  ❑                                            ❑
      estimate that you owe?
                                                   100-199                          10,001-25,000                                  More than 100,000
                                             ❑     200-999

                                             ✔
                                             ❑     $0-$50,000                       ❑    $1,000,001-$10 million                     ❑    $500,000,001-$1 billion
  19. How much do you estimate               ❑     $50,001-$100,000                 ❑    $10,000,001-$50 million                    ❑    $1,000,000,001-$10 billion
                                             ❑                                      ❑                                               ❑
      your assets to be worth?
                                                   $100,001-$500,000                     $50,000,001-$100 million                        $10,000,000,001-$50 billion
                                             ❑     $500,001-$1 million              ❑    $100,000,001-$500 million                  ❑    More than $50 billion

                                             ❑     $0-$50,000                       ❑    $1,000,001-$10 million                     ❑    $500,000,001-$1 billion
  20. How much do you estimate               ❑     $50,001-$100,000                 ❑    $10,000,001-$50 million                    ❑    $1,000,000,001-$10 billion
      your liabilities to be?
                                             ✔
                                             ❑     $100,001-$500,000                ❑    $50,000,001-$100 million                   ❑    $10,000,000,001-$50 billion
                                             ❑     $500,001-$1 million              ❑    $100,000,001-$500 million                  ❑    More than $50 billion

 Part 7: Sign Below


  For you                         I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.
                                  If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11, United States
                                  Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.
                                  If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this document, I have
                                  obtained and read the notice required by 11 U.S.C. § 342(b).
                                  I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                  I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy case
                                  can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

                                    ✘ /s/ John Rutledge
                                         John Rutledge, Debtor 1
                                         Executed on 05/05/2018
                                                           MM/ DD/ YYYY




Official Form 101                                            Voluntary Petition for Individuals Filing for Bankruptcy                                                        page 6
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                     First Name             Middle Name              Last Name



   For your attorney, if you are             I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
   represented by one                        under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter for
                                             which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b) and,
   If you are not represented by an          in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the schedules
   attorney, you do not need to file this    filed with the petition is incorrect.
   page.

                                              ✘ /s/ Austin Butts                                                      Date 05/05/2018
                                                 Austin Butts, Attorney                                                      MM / DD / YYYY




                                                 Austin Butts
                                                 Printed name

                                                 Pratt Book, PLLC
                                                 Firm name

                                                 2591 Dallas Pkwy Ste 505
                                                 Number        Street

                                                  Hall Office Park

                                                 Frisco                                                              TX       75034-8564
                                                 City                                                                State    ZIP Code



                                                 Contact phone (972) 712-1515                                     Email address abutts@prattbook.com


                                                 24094573                                                            TX
                                                 Bar number                                                          State




Official Form 101                                         Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 7
                               Case 18-40950 Doc 1 Filed 05/05/18                                 Entered 05/05/18 09:44:28                 Desc Main Document             Page 8 of 66
 Fill in this information to identify your case and this filing:

  Debtor 1                  John                                                    Rutledge
                            First Name                   Middle Name                Last Name

  Debtor 2                  First Name                   Middle Name                Last Name
  (Spouse, if filing)

  United States Bankruptcy Court for the:                                           Eastern District of Texas
                                                                                                                                                                                   ❑Check if this is an
  Case number                                                                                                                                                                         amended filing


Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you think it
fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
      ❑ No. Go to Part 2.
      ✔ Yes. Where is the property?
      ❑
      1.1      Leased Property                                                What is the property? Check all that apply.                                  Do not deduct secured claims or exemptions. Put the
              Street address, if available, or other
              description
                                                                             ✔ Single-family home
                                                                             ❑                                                                             amount of any secured claims on Schedule D:
                                                                             ❑ Duplex or multi-unit building                                               Creditors Who Have Claims Secured by Property.
              3268 Woodbine Trl                                              ❑ Condominium or cooperative                                                Current value of the             Current value of the
                                                                             ❑ Manufactured or mobile home                                               entire property?                 portion you own?
               Frisco, TX 75034-0391                                         ❑ Land                                                                                    unknown                         unknown
              City                               State        ZIP Code       ❑ Investment property
                                                                             ❑ Timeshare                                                                 Describe the nature of your ownership interest (such
                                                                                                                                                         as fee simple, tenancy by the entireties, or a life
              County
                                                                             ❑ Other                                                                     estate), if known.
                                                                              Who has an interest in the property? Check one.
                                                                             ✔ Debtor 1 only
                                                                                                                                                           Lease
                                                                             ❑
                                                                             ❑ Debtor 2 only
                                                                             ❑ Debtor 1 and Debtor 2 only                                                 ❑ Check if this is community property
                                                                             ❑ At least one of the debtors and another
                                                                                                                                                              (see instructions)

 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
    you have attached for Part 1. Write that number here.........................................................................................................                  ➜                   $0.00




Official Form 106A/B                                                                                    Schedule A/B: Property                                                                         page 1
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                                                                                                                                                       Case number (if known)
                            First Name                    Middle Name                       Last Name




 Part 2: Describe Your Vehicles



 Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
 you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

 3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
       ❑ No
       ✔ Yes
       ❑
       3.1 Make:                                   Chevy                     Who has an interest in the property? Check one.                                 Do not deduct secured claims or exemptions. Put the
                                                   Suburban N/A
                                                                             ✔ Debtor 1 only
                                                                             ❑                                                                               amount of any secured claims on Schedule D:
            Model:
                                                                             ❑ Debtor 2 only                                                                 Creditors Who Have Claims Secured by Property.
                                                   2013                      ❑ Debtor 1 and Debtor 2 only                                                  Current value of the        Current value of the
                                                                             ❑ At least one of the debtors and another
            Year:
                                                   231,000                                                                                                 entire property?            portion you own?
            Approximate mileage:                                                                                                                                         $6,800.00                  $6,800.00
            Other information:                                               ❑Check if this is community property (see
                                                                                 instructions)




      If you own or have more than one, list here:

       3.2 Make:                                   Chevy                     Who has an interest in the property? Check one.                                 Do not deduct secured claims or exemptions. Put the
                                                   Tahoe LS
                                                                             ✔ Debtor 1 only
                                                                             ❑                                                                               amount of any secured claims on Schedule D:
            Model:
                                                                             ❑ Debtor 2 only                                                                 Creditors Who Have Claims Secured by Property.
                                                   2001                      ❑ Debtor 1 and Debtor 2 only                                                  Current value of the        Current value of the
                                                                             ❑ At least one of the debtors and another
            Year:
                                                   310,000+/-                                                                                              entire property?            portion you own?
            Approximate mileage:                                                                                                                                         $1,500.00                  $1,500.00
            Other information:                                               ❑Check if this is community property (see
                                                                                 instructions)




 4.     Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
        Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
        ✔ No
        ❑
        ❑ Yes
 5.    Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
       you have attached for Part 2. Write that number here.........................................................................................................                 ➜              $8,300.00




 Part 3: Describe Your Personal and Household Items

  Do you own or have any legal or equitable interest in any of the following items?                                                                                                    Current value of the
                                                                                                                                                                                       portion you own?
                                                                                                                                                                                       Do not deduct secured
                                                                                                                                                                                       claims or exemptions.

 6. Household goods and furnishings
       Examples:       Major appliances, furniture, linens, china, kitchenware

       ❑ No
       ✔ Yes. Describe........
       ❑
                                                See Attached.
                                                                                                                                                                                                      $2,110.00




Official Form 106A/B                                                                                     Schedule A/B: Property                                                                     page 2
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 7. Electronics
       Examples:        Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections;
                        electronic devices including cell phones, cameras, media players, games

       ❑ No
       ✔ Yes. Describe........
       ❑
                                                 See Attached.                                                                                                                          $1,500.00



 8.    Collectibles of value
       Examples:        Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                        stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
       ✔ No
       ❑
       ❑ Yes. Describe........

 9. Equipment for sports and hobbies
       Examples:        Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks;
                        carpentry tools; musical instruments
       ✔ No
       ❑
       ❑ Yes. Describe........

 10.    Firearms
        Examples:         Pistols, rifles, shotguns, ammunition, and related equipment
        ✔ No
        ❑
        ❑ Yes. Describe........

 11.    Clothes
        Examples:         Everyday clothes, furs, leather coats, designer wear, shoes, accessories

        ❑ No
        ✔ Yes. Describe........
        ❑                                                                                                                                                                               $2,000.00



 12.    Jewelry
        Examples:         Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
        ✔ No
        ❑
        ❑ Yes. Describe........


 13.    Non-farm animals
        Examples:         Dogs, cats, birds, horses

        ❑ No
        ✔ Yes. Describe........
        ❑
                                                 See Attached.                                                                                                                              $0.00



 14.    Any other personal and household items you did not already list, including any health aids you did not list

        ✔ No
        ❑
        ❑ Yes. Describe........

 15.    Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
        for Part 3. Write that number here........................................................................................................................................➜    $5,610.00




Official Form 106A/B                                                                                        Schedule A/B: Property                                                     page 3
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 Part 4: Describe Your Financial Assets

  Do you own or have any legal or equitable interest in any of the following?                                                                                                                    Current value of the
                                                                                                                                                                                                 portion you own?
                                                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                                                 claims or exemptions.


 16.   Cash
       Examples:           Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
       ❑ No
       ✔ Yes.............................................................................................................................................................
       ❑                                                                                                                                                                    Cash..............
                                                                                                                                                                                                                 $40.00



 17.   Deposits of money
       Examples:           Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other
                           similar institutions. If you have multiple accounts with the same institution, list each.

       ❑ No
       ✔ Yes..................
       ❑
                                                                                                         Institution name:



                                                17.1. Checking account:                                   N/A Account Number: N/A                                                                                 $0.00


                                                17.2. Checking account:


                                                17.3. Savings account:


                                                17.4. Savings account:


                                                17.5. Certificates of deposit:


                                                17.6. Other financial account:


                                                17.7. Other financial account:


                                                17.8. Other financial account:


                                                17.9. Other financial account:


 18.   Bonds, mutual funds, or publicly traded stocks
       Examples:           Bond funds, investment accounts with brokerage firms, money market accounts
       ✔ No
       ❑
       ❑ Yes..................
 19.   Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
       an LLC, partnership, and joint venture

       ✔ No
       ❑
       ❑ Yes. Give specific
            information about
            them...................




Official Form 106A/B                                                                                                    Schedule A/B: Property                                                               page 4
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 20.   Government and corporate bonds and other negotiable and non-negotiable instruments
       Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
       Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
       ✔ No
       ❑
       ❑ Yes. Give specific
            information about
            them...................

 21.   Retirement or pension accounts
       Examples:        Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
       ✔ No
       ❑
       ❑ Yes. List each account
            separately.
 22.   Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
       Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or
       others

       ❑ No
       ✔ Yes.....................
       ❑
                                                          Institution name or individual:

                                       Other:              Rent Deposit                                                                            $3,750.00


                                       Other:              Coserv Electric and gas                                                                   $606.00


                                       Other:              City of Frisco                                                                              $0.00

 23.   Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

       ✔ No
       ❑
       ❑ Yes.....................
 24.   Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
       ✔ No
       ❑
       ❑ Yes.....................
 25.   Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your
       benefit

       ✔ No
       ❑
       ❑ Yes. Give specific
            information about them....


 26.   Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples:        Internet domain names, websites, proceeds from royalties and licensing agreements
       ✔ No
       ❑
       ❑ Yes. Give specific
            information about them....




Official Form 106A/B                                                               Schedule A/B: Property                                          page 5
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 27.   Licenses, franchises, and other general intangibles
       Examples:     Building permits, exclusive licenses, cooperative association holdings, liquor licenses,
                     professional licenses

       ❑ No
       ✔ Yes. Give specific
       ❑                                    Texas Real Estate License                                                                                      $0.00
            information about them....


 28.   Tax refunds owed to you

       ✔ No
       ❑
       ❑ Yes.    Give specific information about                                                                                Federal:
                 them, including whether you
                 already filed the returns and the                                                                              State:
                 tax years.......................
                                                                                                                                Local:



 29.   Family support
       Examples:     Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

       ✔ No
       ❑
       ❑ Yes.    Give specific information..........
                                                                                                                                Alimony:

                                                                                                                                Maintenance:

                                                                                                                                Support:

                                                                                                                                Divorce settlement:

                                                                                                                                Property settlement:


 30.   Other amounts someone owes you
       Examples:     Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social
                     Security benefits; unpaid loans you made to someone else
       ✔ No
       ❑
       ❑ Yes.    Give specific information..........




 31.   Interests in insurance policies
       Examples:     Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
       ✔ No
       ❑
       ❑ Yes.    Name the insurance company
                 of each policy and list its value....

 32.   Any interest in property that is due you from someone who has died
       If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property
       because someone has died.
       ✔ No
       ❑
       ❑ Yes.    Give specific information..........




Official Form 106A/B                                                               Schedule A/B: Property                                              page 6
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 33.   Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
       Examples:         Accidents, employment disputes, insurance claims, or rights to sue
       ✔ No
       ❑
       ❑ Yes.       Describe each claim................




 34.   Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
       to set off claims

       ✔ No
       ❑
       ❑ Yes.       Describe each claim................




 35.   Any financial assets you did not already list

       ✔ No
       ❑
       ❑ Yes.       Give specific information..........




 36.   Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
       for Part 4. Write that number here..................................................................................................................................➜         $4,396.00



 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 37.   Do you own or have any legal or equitable interest in any business-related property?
       ❑No. Go to Part 6.
       ✔Yes. Go to line 38.
       ❑
 38.   Accounts receivable or commissions you already earned

       ✔ No
       ❑
       ❑ Yes. Describe........

 39.   Office equipment, furnishings, and supplies
       Examples:         Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

       ❑ No
       ✔ Yes. Describe........
       ❑
                                                Computer and printer
                                                                                                                                                                                       $200.00


 40.   Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

       ✔ No
       ❑
       ❑ Yes. Describe........

 41.   Inventory

       ✔ No
       ❑
       ❑ Yes. Describe........

 42.   Interests in partnerships or joint ventures

       ✔ No
       ❑
       ❑ Yes. Describe........

Official Form 106A/B                                                                                       Schedule A/B: Property                                                    page 7
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 43.   Customer lists, mailing lists, or other compilations
       ✔ No
       ❑
       ❑ Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
               ❑ No
               ❑ Yes. Describe........

 44.   Any business-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information.........

 45.   Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
       for Part 5. Write that number here.................................................................................................................................➜            $200.00



 Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
         If you own or have an interest in farmland, list it in Part 1.

 46.   Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
       ✔No. Go to Part 7.
       ❑
       ❑Yes. Go to line 47.
 47.   Farm animals
       Examples:         Livestock, poultry, farm-raised fish
       ❑ No
       ❑ Yes.........................

 48.   Crops—either growing or harvested

       ❑ No
       ❑ Yes. Give specific
            information.............


 49.   Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

       ❑ No
       ❑ Yes..........................


 50.   Farm and fishing supplies, chemicals, and feed

       ❑ No
       ❑ Yes..........................


 51.   Any farm- and commercial fishing-related property you did not already list

       ❑ No
       ❑ Yes. Give specific
            information.............



 52.   Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
       for Part 6. Write that number here...................................................................................................................................➜



 Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above



Official Form 106A/B                                                                                       Schedule A/B: Property                                                    page 8
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 53.   Do you have other property of any kind you did not already list?
       Examples:          Season tickets, country club membership
       ✔ No
       ❑
       ❑ Yes. Give specific
            information.............




 54.   Add the dollar value of all of your entries from Part 7. Write that number here.....................................................➜                                                        $0.00



 Part 8: List the Totals of Each Part of this Form

 55.   Part 1: Total real estate, line 2..........................................................................................................................................➜                 $0.00


 56.   Part 2: Total vehicles, line 5                                                                                          $8,300.00


 57.   Part 3: Total personal and household items, line 15                                                                     $5,610.00


 58.   Part 4: Total financial assets, line 36                                                                                 $4,396.00


 59.   Part 5: Total business-related property, line 45                                                                           $200.00


 60.   Part 6: Total farm- and fishing-related property, line 52                                                                     $0.00


 61.   Part 7: Total other property not listed, line 54                                                +                             $0.00


 62.   Total personal property. Add lines 56 through 61..............                                                        $18,506.00             Copy personal property total➜     +     $18,506.00




 63.   Total of all property on Schedule A/B. Add line 55 + line 62.................................................................................................                           $18,506.00




Official Form 106A/B                                                                                            Schedule A/B: Property                                                          page 9
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                                                         SCHEDULE A/B: PROPERTY
                                                                 Continuation Page

 6.   Household goods and furnishings
      sofa(s)                                                                                                                          $1,600.00
      sofa tables                                                                                                                       $100.00
      refrigerator / freezer                                                                                                            $100.00
      dishes / flatware                                                                                                                   $5.00
      china / silverware                                                                                                                 $50.00
      pots / pans / cookware                                                                                                              $5.00
      bed                                                                                                                               $250.00

 7.   Electronics
      cellular telephones                                                                                                               $200.00
      television 1                                                                                                                        $0.00
      television 2                                                                                                                     $1,000.00
      dvd player                                                                                                                        $200.00
      personal computer                                                                                                                 $100.00

 13. Non-farm animals
      Tea cup yorkie (13 years old)                                                                                                       $0.00
      Golden Retriever                                                                                                                    $0.00




Official Form 106A/B                                                    Schedule A/B: Property
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 Fill in this information to identify your case:

  Debtor 1              John                                        Rutledge
                        First Name             Middle Name         Last Name

  Debtor 2              First Name             Middle Name         Last Name
  (Spouse, if filing)

  United States Bankruptcy Court for the:                          Eastern District of Texas

  Case number                                                                                                                             ❑Check if this is an
  (if known)                                                                                                                                 amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                            04/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill out and
attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a specific dollar amount as
exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any applicable statutory limit. Some
exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement funds—may be unlimited in dollar amount. However, if you
claim an exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the property is determined to
exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1: Identify the Property You Claim as Exempt


 1.    Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
       ✔ You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
       ❑
       ❑ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

      Brief description of the property and line on        Current value of the         Amount of the exemption you claim          Specific laws that allow exemption
      Schedule A/B that lists this property                portion you own
                                                           Copy the value from          Check only one box for each exemption.
                                                           Schedule A/B

                                                                                     ✔
                          Leased Property
      Brief               3268 Woodbine Trl Frisco,                  unknown         ❑                   unknown                   Const. art. 16 §§ 50, 51, Texas Prop.
      description:        TX 75034-0391                                              ❑      100% of fair market value, up to any   Code §§ 41.001-.002
                                                                                            applicable statutory limit
      Line from
      Schedule A/B:       1.1


                                                                                     ✔
      Brief               2013 Chevy Suburban
      description:        N/A                                      $6,800.00         ❑                     $0.00                   Tex. Prop. Code §§ 42.001(a),

      Line from
                                                                                     ❑      100% of fair market value, up to any   42.002(a)(9)
                                                                                            applicable statutory limit
      Schedule A/B:       3.1



                                                                                     ✔
      Brief
      description:        2001 Chevy Tahoe LS                      $1,500.00         ❑                     $0.00                   Tex. Prop. Code §§ 42.001(a),

      Line from
                                                                                     ❑      100% of fair market value, up to any   42.002(a)(9)
                                                                                            applicable statutory limit
      Schedule A/B:       3.2


 3. Are you claiming a homestead exemption of more than $160,375?
       (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
       ✔ No
       ❑
       ❑ Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
          ❑ No
          ❑ Yes



Official Form 106C                                                Schedule C: The Property You Claim as Exempt                                                      page 1 of 1
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 Part 2: Additional Page
     Brief description of the property and line on       Current value of the   Amount of the exemption you claim          Specific laws that allow exemption
     Schedule A/B that lists this property               portion you own
                                                         Copy the value from    Check only one box for each exemption.
                                                         Schedule A/B

                                                                                ✔
    Brief
    description:       sofa(s)                                  $1,600.00       ❑               $1,600.00                  Tex. Prop. Code §§ 42.001(a),

    Line from
                                                                                ❑   100% of fair market value, up to any   42.002(a)(1)
                                                                                    applicable statutory limit
    Schedule A/B:      6




                                                                                ✔
    Brief
    description:       sofa tables                               $100.00        ❑                $100.00                   Tex. Prop. Code §§ 42.001(a),

    Line from
                                                                                ❑   100% of fair market value, up to any   42.002(a)(1)
                                                                                    applicable statutory limit
    Schedule A/B:      6




                                                                                ✔
    Brief
    description:       refrigerator / freezer                    $100.00        ❑                $100.00                   Tex. Prop. Code §§ 42.001(a),

    Line from
                                                                                ❑   100% of fair market value, up to any   42.002(a)(1)
                                                                                    applicable statutory limit
    Schedule A/B:      6




                                                                                ✔
    Brief
    description:       dishes / flatware                            $5.00       ❑                 $5.00                    Tex. Prop. Code §§ 42.001(a),

    Line from
                                                                                ❑   100% of fair market value, up to any   42.002(a)(1)
                                                                                    applicable statutory limit
    Schedule A/B:      6




                                                                                ✔
    Brief
    description:       china / silverware                         $50.00        ❑                $50.00                    Tex. Prop. Code §§ 42.001(a),

    Line from
                                                                                ❑   100% of fair market value, up to any   42.002(a)(1)
                                                                                    applicable statutory limit
    Schedule A/B:      6




                                                                                ✔
    Brief
    description:       pots / pans / cookware                       $5.00       ❑                 $5.00                    Tex. Prop. Code §§ 42.001(a),

    Line from
                                                                                ❑   100% of fair market value, up to any   42.002(a)(1)
                                                                                    applicable statutory limit
    Schedule A/B:      6




                                                                                ✔
    Brief
    description:       bed                                       $250.00        ❑                $250.00                   Tex. Prop. Code §§ 42.001(a),

    Line from
                                                                                ❑   100% of fair market value, up to any   42.002(a)(1)
                                                                                    applicable statutory limit
    Schedule A/B:      6




                                                                                ✔
    Brief
    description:       television 1                                 $0.00       ❑                 $0.00                    Tex. Prop. Code §§ 42.001(a),

    Line from
                                                                                ❑   100% of fair market value, up to any   42.002(a)(1)
                                                                                    applicable statutory limit
    Schedule A/B:      7




Official Form 106C                                            Schedule C: The Property You Claim as Exempt                                           Additional Page
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 Part 2: Additional Page
     Brief description of the property and line on     Current value of the   Amount of the exemption you claim          Specific laws that allow exemption
     Schedule A/B that lists this property             portion you own
                                                       Copy the value from    Check only one box for each exemption.
                                                       Schedule A/B

                                                                              ✔
    Brief
    description:       television 2                           $1,000.00       ❑               $1,000.00                  Tex. Prop. Code §§ 42.001(a),

    Line from
                                                                              ❑   100% of fair market value, up to any   42.002(a)(1)
                                                                                  applicable statutory limit
    Schedule A/B:      7




                                                                              ✔
    Brief
    description:       dvd player                              $200.00        ❑                $200.00                   Tex. Prop. Code §§ 42.001(a),

    Line from
                                                                              ❑   100% of fair market value, up to any   42.002(a)(1)
                                                                                  applicable statutory limit
    Schedule A/B:      7




                                                                              ✔
    Brief
    description:       personal computer                       $100.00        ❑                $100.00                   Tex. Prop. Code §§ 42.001(a),

    Line from
                                                                              ❑   100% of fair market value, up to any   42.002(a)(1)
                                                                                  applicable statutory limit
    Schedule A/B:      7




                                                                              ✔
    Brief
    description:       cellular telephones                     $200.00        ❑                $200.00                   Tex. Prop. Code §§ 42.001(a),

    Line from
                                                                              ❑   100% of fair market value, up to any   42.002(a)(1)
                                                                                  applicable statutory limit
    Schedule A/B:      7




                                                                              ✔
    Brief
    description:       Clothes                                $2,000.00       ❑               $2,000.00                  Tex. Prop. Code §§ 42.001(a),

    Line from
                                                                              ❑   100% of fair market value, up to any   42.002(a)(5)
                                                                                  applicable statutory limit
    Schedule A/B:      11




                                                                              ✔
    Brief              Tea cup yorkie (13 years
    description:       old)                                       $0.00       ❑                 $0.00                    Tex. Prop. Code §§ 42.001(a),

    Line from
                                                                              ❑   100% of fair market value, up to any   42.002(a)(11)
                                                                                  applicable statutory limit
    Schedule A/B:      13




                                                                              ✔
    Brief
    description:       Golden Retriever                           $0.00       ❑                 $0.00                    Tex. Prop. Code §§ 42.001(a),

    Line from
                                                                              ❑   100% of fair market value, up to any   42.002(a)(11)
                                                                                  applicable statutory limit
    Schedule A/B:      13




                                                                              ✔
    Brief
    description:       Computer and printer                    $200.00        ❑                $200.00                   Tex. Prop. Code §§ 42.001(a),

    Line from
                                                                              ❑   100% of fair market value, up to any   42.002(a)(4)
                                                                                  applicable statutory limit
    Schedule A/B:      39




Official Form 106C                                          Schedule C: The Property You Claim as Exempt                                           Additional Page
                               Case 18-40950       Doc 1   Filed 05/05/18     Entered 05/05/18 09:44:28        Desc Main Document      Page 21 of 66
 Fill in this information to identify your case:

  Debtor 1               John                                       Rutledge
                         First Name            Middle Name          Last Name

  Debtor 2               First Name            Middle Name          Last Name
  (Spouse, if filing)

  United States Bankruptcy Court for the:                           Eastern District of Texas

  Case number                                                                                                                                ❑Check if this is an
  (if known)                                                                                                                                    amended filing


Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?
   ❑No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
   ✔Yes. Fill in all of the information below.
   ❑
 Part 1: List All Secured Claims

 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately for each     Column A                Column B              Column C
    claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As much as possible, Amount of claim         Value of              Unsecured
    list the claims in alphabetical order according to the creditor’s name.                                           Do not deduct the       collateral that       portion
                                                                                                                      value of collateral.    supports this         If any
                                                                                                                                              claim
2.1 Vaquero Motors                                         Describe the property that secures the claim:                          $9,200.00            $6,800.00        $2,400.00
     Creditor's Name
                                                            2013 Chevy Suburban N/A
      945 E. Jefferson Blvd.
     Number             Street
      Dallas, TX 75203                                     As of the date you file, the claim is: Check all that apply.
     City                          State     ZIP Code      ❑Contigent
     Who owes the debt? Check one.                         ❑Unlquidated
     ✔ Debtor 1 only
     ❑                                                     ❑Disputed
     ❑Debtor 2 only                                        Nature of lien. Check all that apply.
     ❑Debtor 1 and Debtor 2 only                           ❑An agreement you made (such as mortgage or
     ❑At least one of the debtors and another                 secured car loan)
     ❑Check if this claim relates to a                     ❑Statutory lien (such as tax lien, mechanic's lien)
         community debt
                                                           ❑Judgment lien from a lawsuit
     Date debt was incurred                                ❑Other (including a right to offset)
     08/15/2016

                                                           Last 4 digits of account number

      Add the dollar value of your entries in Column A on this page. Write that number here:                                    $9,200.00




Official Form 106D                                         Schedule D: Creditors Who Have Claims Secured by Property                                               page 1 of 2
 Debtor 1              JohnCase 18-40950       Doc 1   Filed 05/05/18  Entered 05/05/18 09:44:28
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                                                                                                                                (if known)
                       First Name            Middle Name             Last Name


                                                                                                                      Column A                Column B              Column C
              Additional Page                                                                                         Amount of claim         Value of              Unsecured
  Part 1:
              After listing any entries on this page, number them beginning                                           Do not deduct the       collateral that       portion
              with 2.3, followed by 2.4, and so forth.                                                                value of collateral.    supports this         If any
                                                                                                                                              claim


 2.2 Title Max                                         Describe the property that secures the claim:                              $2,100.00            $1,500.00          $600.00
     Creditor's Name
                                                         2001 Chevy Tahoe LS
     4700 TX hwy. 121
     Number          Street
     Plano, TX 75024                                   As of the date you file, the claim is: Check all that apply.
     City                           State   ZIP Code   ❑Contigent
     Who owes the debt? Check one.                     ❑Unlquidated
     ✔ Debtor 1 only
     ❑                                                 ❑Disputed
     ❑Debtor 2 only                                    Nature of lien. Check all that apply.
     ❑Debtor 1 and Debtor 2 only                       ❑An agreement you made (such as mortgage or
     ❑At least one of the debtors and another              secured car loan)
     ❑Check if this claim relates to a                 ❑Statutory lien (such as tax lien, mechanic's lien)
        community debt
                                                       ❑Judgment lien from a lawsuit
     Date debt was incurred                            ❑Other (including a right to offset)
     09/15/2016

                                                       Last 4 digits of account number


      Add the dollar value of your entries in Column A on this page. Write that number here:                                    $2,100.00
      If this is the last page of your form, add the dollar value totals from all pages. Write that number                     $11,300.00
      here:




Official Form 106D                            Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 2 of 2
                               Case 18-40950       Doc 1   Filed 05/05/18   Entered 05/05/18 09:44:28       Desc Main Document         Page 23 of 66
 Fill in this information to identify your case:

  Debtor 1              John                                      Rutledge
                        First Name             Middle Name        Last Name

  Debtor 2              First Name             Middle Name        Last Name
  (Spouse, if filing)

  United States Bankruptcy Court for the:                         Eastern District of Texas

  Case number                                                                                                                               ❑Check if this is an
  (if known)                                                                                                                                    amended filing


Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                          12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Hold Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. On the top of any additional pages, write your name and case number (if known).

 Part 1: List All of Your PRIORITY Unsecured Claims

  1. Do any creditors have priority unsecured claims against you?
     ❑ No. Go to Part 2.
     ✔ Yes.
     ❑
  2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
     identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
     possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
     Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
     (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                  Total       Priority           Nonpriority
                                                                                                                                  claim       amount             amount

2.1      Federal Tax lien                                                                                                          $20,480.00      $20,480.00             $0.00
                                                                     Last 4 digits of account number
        Priority Creditor's Name
                                                                     When was the debt incurred? N/A
                                                                     As of the date you file, the claim is: Check all that
        Number           Street                                      apply.
                                                                     ❑ Contingent
        City                               State     ZIP Code        ❑ Unliquidated
        Who incurred the debt? Check one.                            ❑ Disputed
        ✔
        ❑ Debtor 1 only                                              Type of PRIORITY unsecured claim:
        ❑ Debtor 2 only                                              ❑ Domestic support obligations
        ❑ Debtor 1 and Debtor 2 only                                 ✔ Taxes and certain other debts you owe the
                                                                     ❑
        ❑ At least one of the debtors and another                        government
        ❑ Check if this claim is for a community debt                ❑ Claims for death or personal injury while you were
        Is the claim subject to offset?                                  intoxicated
        ✔ No
        ❑                                                            ❑ Other. Specify
        ❑ Yes
2.2      Federal Tax Lien                                                                                                          $98,936.00      $98,936.00             $0.00
                                                                     Last 4 digits of account number
        Priority Creditor's Name
                                                                     When was the debt incurred? N/A
                                                                     As of the date you file, the claim is: Check all that
        Number           Street                                      apply.
                                                                     ❑ Contingent
        City                               State     ZIP Code        ❑ Unliquidated
        Who incurred the debt? Check one.                            ❑ Disputed
        ✔ Debtor 1 only
        ❑                                                            Type of PRIORITY unsecured claim:
        ❑ Debtor 2 only                                              ❑ Domestic support obligations
        ❑ Debtor 1 and Debtor 2 only                                 ✔ Taxes and certain other debts you owe the
                                                                     ❑
        ❑ At least one of the debtors and another                        government
        ❑ Check if this claim is for a community debt                ❑ Claims for death or personal injury while you were
        Is the claim subject to offset?                                  intoxicated
        ✔ No
        ❑                                                            ❑ Other. Specify
        ❑ Yes


Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                                                    page 1 of 10
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                                                                                                                     Case number (if known)
                       First Name             Middle Name            Last Name



 Part 1: Your PRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.                    Total     Priority           Nonpriority
                                                                                                                            claim     amount             amount

2.3     Federal Tax Lien                                                                                                     $12,623.00    $12,623.00              $0.00
                                                                   Last 4 digits of account number
       Priority Creditor's Name
                                                                   When was the debt incurred?         N/A
                                                                   As of the date you file, the claim is: Check all that
       Number           Street
                                                                   apply.
                                                                   ❑   Contingent
                                                                   ❑
       City                              State     ZIP Code
                                                                       Unliquidated
       Who incurred the debt? Check one.
       ✔                                                           ❑
       ❑
                                                                       Disputed
              Debtor 1 only
       ❑      Debtor 2 only
                                                                   Type of PRIORITY unsecured claim:
                                                                   ❑
       ❑
                                                                       Domestic support obligations
              Debtor 1 and Debtor 2 only
                                                                   ✔
                                                                   ❑
       ❑
                                                                       Taxes and certain other debts you owe the
              At least one of the debtors and another                  government
       ❑      Check if this claim is for a community debt          ❑   Claims for death or personal injury while you were
       Is the claim subject to offset?                                 intoxicated
       ✔
       ❑      No                                                   ❑   Other. Specify
       ❑      Yes
2.4     Federal Tax Lien                                                                                                      $3,979.00      $3,979.00             $0.00
                                                                   Last 4 digits of account number
       Priority Creditor's Name
                                                                   When was the debt incurred?         N/A
                                                                   As of the date you file, the claim is: Check all that
       Number           Street
                                                                   apply.
                                                                   ❑   Contingent
                                                                   ❑
       City                              State     ZIP Code
                                                                       Unliquidated
       Who incurred the debt? Check one.
       ✔                                                           ❑
       ❑
                                                                       Disputed
              Debtor 1 only
       ❑      Debtor 2 only
                                                                   Type of PRIORITY unsecured claim:
                                                                   ❑
       ❑
                                                                       Domestic support obligations
              Debtor 1 and Debtor 2 only
                                                                   ✔
                                                                   ❑
       ❑
                                                                       Taxes and certain other debts you owe the
              At least one of the debtors and another                  government
       ❑      Check if this claim is for a community debt          ❑   Claims for death or personal injury while you were
       Is the claim subject to offset?                                 intoxicated
       ✔
       ❑      No                                                   ❑   Other. Specify
       ❑      Yes
2.5     Pratt Book, PLLC                                                                                                      $3,500.00      $3,500.00             $0.00
                                                                   Last 4 digits of account number
       Priority Creditor's Name
                                                                   When was the debt incurred?
        Hall Office Park
                                                                   As of the date you file, the claim is: Check all that
        2591 Dallas Pkwy Ste 505                                   apply.
                                                                   ❑
       Number           Street
                                                                       Contingent
        Frisco, TX 75034-8564
       City                              State     ZIP Code        ❑   Unliquidated
       Who incurred the debt? Check one.                           ❑   Disputed
       ✔
       ❑      Debtor 1 only                                        Type of PRIORITY unsecured claim:
       ❑      Debtor 2 only                                        ❑   Domestic support obligations
       ❑      Debtor 1 and Debtor 2 only                           ❑   Taxes and certain other debts you owe the
       ❑
                                                                       government
                                                                   ❑
              At least one of the debtors and another
       ❑
                                                                       Claims for death or personal injury while you were
              Check if this claim is for a community debt              intoxicated
       Is the claim subject to offset?                             ✔
                                                                   ❑   Other. Specify
       ✔
       ❑      No                                                       Attorney Fees
       ❑      Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                              page 2 of 10
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                                                                                                                        Case number (if known)
                       First Name              Middle Name              Last Name

 Part 2: List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
      ❑     No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      ✔
      ❑     Yes.
  4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
     unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
     than one creditor holds a particular claim, list the other creditors in Part 3. If you have more than three nonpriority unsecured claims fill out the Continuation Page of
     Part 2.
                                                                                                                                                             Total claim

4.1     Ad Astra Recovery Service                                                 Last 4 digits of account number 9473                                                $1,202.00
        Nonpriority Creditor's Name
                                                                                  When was the debt incurred?          09/18/2014
        7330 W. 33rd Street                                                       As of the date you file, the claim is: Check all that apply.
                                                                                  ❑ Contingent
        Number           Street

                                                                                  ❑ Unliquidated
          Wichita, KS 67205
        City                              State     ZIP Code
                                                                                  ❑ Disputed
        Who incurred the debt? Check one.
        ✔
        ❑ Debtor 1 only
                                                                                  Type of NONPRIORITY unsecured claim:

        ❑                                                                         ❑ Student loans
                                                                                  ❑ Obligations arising out of a separation agreement or
          Debtor 2 only
        ❑ Debtor 1 and Debtor 2 only                                                  divorce that you did not report as priority claims
        ❑ At least one of the debtors and another                                 ❑ Debts to pension or profit-sharing plans, and other
        ❑ Check if this claim is for a community debt                                 similar debts
        Is the claim subject to offset?
                                                                                  ✔ Other. Specify
                                                                                  ❑
        ✔ No
        ❑                                                                             payday loan

        ❑ Yes
4.2     ATT                                                                       Last 4 digits of account number N/A                                                      $707.00
        Nonpriority Creditor's Name
                                                                                  When was the debt incurred?          09/25/2017
        PO Box 53621                                                              As of the date you file, the claim is: Check all that apply.
                                                                                  ❑ Contingent
        Number           Street

                                                                                  ❑ Unliquidated
        Atlanta, GA 30353
        City                              State     ZIP Code
                                                                                  ❑ Disputed
        Who incurred the debt? Check one.
        ✔
        ❑ Debtor 1 only
                                                                                  Type of NONPRIORITY unsecured claim:

        ❑                                                                         ❑ Student loans
                                                                                  ❑ Obligations arising out of a separation agreement or
          Debtor 2 only
        ❑ Debtor 1 and Debtor 2 only                                                  divorce that you did not report as priority claims
        ❑ At least one of the debtors and another                                 ❑ Debts to pension or profit-sharing plans, and other
        ❑ Check if this claim is for a community debt                                 similar debts
        Is the claim subject to offset?
                                                                                  ✔ Other. Specify
                                                                                  ❑
        ✔ No
        ❑                                                                             utility bill

        ❑ Yes
4.3     Comerica Bank                                                             Last 4 digits of account number 4303                                                     $912.00
        Nonpriority Creditor's Name
                                                                                  When was the debt incurred?          02/16/2016
        8225 Preston Rd.                                                          As of the date you file, the claim is: Check all that apply.
                                                                                  ❑ Contingent
        Number           Street

                                                                                  ❑ Unliquidated
        Dallas, TX 75225
        City                              State     ZIP Code
                                                                                  ❑ Disputed
        Who incurred the debt? Check one.
        ✔
        ❑ Debtor 1 only
                                                                                  Type of NONPRIORITY unsecured claim:

        ❑                                                                         ❑ Student loans
                                                                                  ❑ Obligations arising out of a separation agreement or
          Debtor 2 only
        ❑ Debtor 1 and Debtor 2 only                                                  divorce that you did not report as priority claims
        ❑ At least one of the debtors and another                                 ❑ Debts to pension or profit-sharing plans, and other
        ❑ Check if this claim is for a community debt                                 similar debts
        Is the claim subject to offset?
                                                                                  ✔ Other. Specify
                                                                                  ❑
        ✔ No
        ❑                                                                             other

        ❑ Yes




Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                                                      page 3 of 10
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 Debtor 1              John                                          Rutledge                                          Case number (if known)
                       First Name             Middle Name            Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                              Total claim


4.4     Conn Credit co.                                                       Last 4 digits of account number 1633                                              $2,498.00
       Nonpriority Creditor's Name
                                                                                When was the debt incurred?        11/13/2013
        PO Box 2358
                                                                              As of the date you file, the claim is: Check all that apply.
       Number           Street
        Beaumont, TX 77704-2358
                                                                              ❑    Contingent
       City                              State     ZIP Code                   ❑    Unliquidated
       Who incurred the debt? Check one.                                      ❑    Disputed
       ✔
       ❑      Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑    Student loans
       ❑      Debtor 1 and Debtor 2 only                                      ❑    Obligations arising out of a separation agreement or
                                                                                   divorce that you did not report as priority claims
       ❑
                                                                              ❑
              At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑    Other. Specify
       ✔
       ❑      No                                                                   other

       ❑      Yes
4.5     Direct TV                                                             Last 4 digits of account number N/A                                                     $82.00
       Nonpriority Creditor's Name
                                                                                When was the debt incurred?        11/30/2017
        N/A
                                                                              As of the date you file, the claim is: Check all that apply.
       Number           Street
        N/A, TX 75034
                                                                              ❑    Contingent
       City                              State     ZIP Code                   ❑    Unliquidated
       Who incurred the debt? Check one.                                      ❑    Disputed
       ✔
       ❑      Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑    Student loans
       ❑      Debtor 1 and Debtor 2 only                                      ❑    Obligations arising out of a separation agreement or
                                                                                   divorce that you did not report as priority claims
       ❑
                                                                              ❑
              At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑    Other. Specify
       ✔
       ❑      No                                                                   utility bill

       ❑      Yes
4.6     Grande Communications                                                 Last 4 digits of account number 1406                                                   $199.00
       Nonpriority Creditor's Name
                                                                                When was the debt incurred?        02/19/2013
        500 Tittle Rd., Unit 400
                                                                              As of the date you file, the claim is: Check all that apply.
       Number           Street
        Lewisville, TX 75056
                                                                              ❑    Contingent
       City                              State     ZIP Code                   ❑    Unliquidated
       Who incurred the debt? Check one.                                      ❑    Disputed
       ✔
       ❑      Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑    Student loans
       ❑      Debtor 1 and Debtor 2 only                                      ❑    Obligations arising out of a separation agreement or
                                                                                   divorce that you did not report as priority claims
       ❑
                                                                              ❑
              At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑    Other. Specify
       ✔
       ❑      No                                                                   utility bill

       ❑      Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                     page 4 of 10
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 Debtor 1              John                                          Rutledge                                          Case number (if known)
                       First Name             Middle Name            Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                              Total claim


4.7     Mancillas, Steven                                                                                                                                      $15,000.00
                                                                              Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                                When was the debt incurred?        12/01/2017
        8150 Brookriver Dr # 305
       Number           Street                                                As of the date you file, the claim is: Check all that apply.
        Dallas, TX 75247-4068                                                 ❑    Contingent
       City                              State     ZIP Code                   ❑    Unliquidated
       Who incurred the debt? Check one.                                      ❑    Disputed
       ✔
       ❑      Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑    Student loans
       ❑      Debtor 1 and Debtor 2 only                                      ❑    Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another
                                                                                   divorce that you did not report as priority claims

       ❑                                                                      ❑    Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑    Other. Specify
       ✔
       ❑      No
       ❑      Yes
4.8     Medical Health Imaging Partners                                       Last 4 digits of account number 1249                                                   $505.00
       Nonpriority Creditor's Name
                                                                                When was the debt incurred?        01/03/2013
        12201 Merit Dr., Ste. 100
                                                                              As of the date you file, the claim is: Check all that apply.
       Number           Street
        allas, TX 75251
                                                                              ❑    Contingent
       City                              State     ZIP Code                   ❑    Unliquidated
       Who incurred the debt? Check one.                                      ❑    Disputed
       ✔
       ❑      Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑    Student loans
       ❑      Debtor 1 and Debtor 2 only                                      ❑    Obligations arising out of a separation agreement or
                                                                                   divorce that you did not report as priority claims
       ❑
                                                                              ❑
              At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑    Other. Specify
       ✔
       ❑      No                                                                   medical bill

       ❑      Yes
4.9     Money Key                                                             Last 4 digits of account number 7605                                              $1,612.00
       Nonpriority Creditor's Name
                                                                                When was the debt incurred?        07/07/2015
        N/A
                                                                              As of the date you file, the claim is: Check all that apply.
       Number           Street
        N/A, TX 75034
                                                                              ❑    Contingent
       City                              State     ZIP Code                   ❑    Unliquidated
       Who incurred the debt? Check one.                                      ❑    Disputed
       ✔
       ❑      Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑    Student loans
       ❑      Debtor 1 and Debtor 2 only                                      ❑    Obligations arising out of a separation agreement or
                                                                                   divorce that you did not report as priority claims
       ❑
                                                                              ❑
              At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑    Other. Specify
       ✔
       ❑      No                                                                   payday loan

       ❑      Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                     page 5 of 10
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 Debtor 1              John                                          Rutledge                                          Case number (if known)
                       First Name             Middle Name            Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                              Total claim


4.10    North Texas Tollway Authority                                                                                                                         $250,000.00
                                                                              Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                                When was the debt incurred?
        Po Box 260928
       Number           Street                                                As of the date you file, the claim is: Check all that apply.
        Plano, TX 75026-0928                                                  ❑    Contingent
       City                              State     ZIP Code                   ❑    Unliquidated
       Who incurred the debt? Check one.                                      ❑    Disputed
       ✔
       ❑      Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑    Student loans
       ❑      Debtor 1 and Debtor 2 only                                      ❑    Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                              divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                              ❑    Debts to pension or profit-sharing plans, and other
                                                                                   similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑    Other. Specify
       ✔
       ❑      No
       ❑      Yes
4.11    Progressive County Mutual                                             Last 4 digits of account number 6708                                                   $628.00
       Nonpriority Creditor's Name
                                                                                When was the debt incurred?        01/18/2016
        6300 Wilson Mills Rd.
                                                                              As of the date you file, the claim is: Check all that apply.
       Number           Street
        Mayfield Village, OH 44143
                                                                              ❑    Contingent
       City                              State     ZIP Code                   ❑    Unliquidated
       Who incurred the debt? Check one.                                      ❑    Disputed
       ✔
       ❑      Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑    Student loans
       ❑      Debtor 1 and Debtor 2 only                                      ❑    Obligations arising out of a separation agreement or
                                                                                   divorce that you did not report as priority claims
       ❑
                                                                              ❑
              At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑    Other. Specify
       ✔
       ❑      No                                                                   other

       ❑      Yes
4.12    Radiology Assoc. of North Texas                                       Last 4 digits of account number 0000                                                   $278.00
       Nonpriority Creditor's Name
                                                                                When was the debt incurred?        11/07/2016
        816 W Cannon St.
                                                                              As of the date you file, the claim is: Check all that apply.
       Number           Street
        Fort Worth, TX 76104
                                                                              ❑    Contingent
       City                              State     ZIP Code                   ❑    Unliquidated
       Who incurred the debt? Check one.                                      ❑    Disputed
       ✔
       ❑      Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑    Student loans
       ❑      Debtor 1 and Debtor 2 only                                      ❑    Obligations arising out of a separation agreement or
                                                                                   divorce that you did not report as priority claims
       ❑
                                                                              ❑
              At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑    Other. Specify
       ✔
       ❑      No                                                                   medical bill

       ❑      Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                     page 6 of 10
                              Case 18-40950      Doc 1   Filed 05/05/18   Entered 05/05/18 09:44:28      Desc Main Document           Page 29 of 66
 Debtor 1              John                                          Rutledge                                          Case number (if known)
                       First Name             Middle Name            Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                              Total claim


4.13    Southwest Diagnostics                                                 Last 4 digits of account number 7129                                                   $600.00
       Nonpriority Creditor's Name
                                                                                When was the debt incurred?        11/02/2016
        8230 Walnut Hill Ln. ,suite 100
                                                                              As of the date you file, the claim is: Check all that apply.
       Number           Street
        Dallas, TX 75231
                                                                              ❑    Contingent
       City                              State     ZIP Code                   ❑    Unliquidated
       Who incurred the debt? Check one.                                      ❑    Disputed
       ✔
       ❑      Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑    Student loans
       ❑      Debtor 1 and Debtor 2 only                                      ❑    Obligations arising out of a separation agreement or
                                                                                   divorce that you did not report as priority claims
       ❑
                                                                              ❑
              At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑    Other. Specify
       ✔
       ❑      No                                                                   medical bill

       ❑      Yes
4.14    T Mobile                                                              Last 4 digits of account number 8588                                                   $267.00
       Nonpriority Creditor's Name
                                                                                When was the debt incurred?        12/19/2013
        N/A
                                                                              As of the date you file, the claim is: Check all that apply.
       Number           Street
        N/A, TX 75034
                                                                              ❑    Contingent
       City                              State     ZIP Code                   ❑    Unliquidated
       Who incurred the debt? Check one.                                      ❑    Disputed
       ✔
       ❑      Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑    Student loans
       ❑      Debtor 1 and Debtor 2 only                                      ❑    Obligations arising out of a separation agreement or
                                                                                   divorce that you did not report as priority claims
       ❑
                                                                              ❑
              At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑    Other. Specify
       ✔
       ❑      No                                                                   utility bill

       ❑      Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                     page 7 of 10
                            Case 18-40950    Doc 1    Filed 05/05/18     Entered 05/05/18 09:44:28       Desc Main Document         Page 30 of 66
 Debtor 1              John                                        Rutledge                                           Case number (if known)
                       First Name           Middle Name             Last Name

 Part 3: List Others to Be Notified About a Debt That You Already Listed

  5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection
     agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly,
     if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons
     to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.
        Americollect                                                   On which entry in Part 1 or Part 2 did you list the original creditor?
       Name
        1851 S. Alverno Rd.                                            Line 4.13 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Number           Street                                                                     ✔
                                                                                                   ❑    Part 2: Creditors with Nonpriority Unsecured Claims
        Manitowoc, WI 54220
       City                                  State      ZIP Code       Last 4 digits of account number

        Credit Protection Associates                                   On which entry in Part 1 or Part 2 did you list the original creditor?
       Name
        13355 Noel Rd., Ste.: 2100                                     Line   4.6   of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Number           Street                                                                     ✔
                                                                                                   ❑    Part 2: Creditors with Nonpriority Unsecured Claims
        Dallas, TX 75240
       City                                  State      ZIP Code       Last 4 digits of account number

        Credit Service Co.                                             On which entry in Part 1 or Part 2 did you list the original creditor?
       Name
        PO Box 1120                                                    Line   4.8   of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Number           Street                                                                     ✔
                                                                                                   ❑    Part 2: Creditors with Nonpriority Unsecured Claims
        colorado Springs, CO 80901
       City                                  State      ZIP Code       Last 4 digits of account number

        Enhanced Recovery Company                                      On which entry in Part 1 or Part 2 did you list the original creditor?
       Name
        PO Box 57547                                                   Line 4.14 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Number           Street                                                                     ✔
                                                                                                   ❑    Part 2: Creditors with Nonpriority Unsecured Claims
        Jacksonville, FL 32241
       City                                  State      ZIP Code       Last 4 digits of account number

        Plaza Services                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
       Name
        110 Hammond Drive                                              Line   4.9   of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Number           Street                                                                     ✔
                                                                                                   ❑    Part 2: Creditors with Nonpriority Unsecured Claims
        atlanta, GA 30328
       City                                  State      ZIP Code       Last 4 digits of account number

        The Best Service Co.                                           On which entry in Part 1 or Part 2 did you list the original creditor?
       Name
        6700 s. Centinella Ave., 3rd Floor                             Line   4.3   of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Number           Street                                                                     ✔
                                                                                                   ❑    Part 2: Creditors with Nonpriority Unsecured Claims
        Culver City, CA 90230
       City                                  State      ZIP Code       Last 4 digits of account number

        The Receivable Management Services                             On which entry in Part 1 or Part 2 did you list the original creditor?
       Name
        240 Emery St.                                                  Line 4.11 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Number           Street                                                                     ✔
                                                                                                   ❑    Part 2: Creditors with Nonpriority Unsecured Claims
        Bethlehem, PA 18015
       City                                  State      ZIP Code       Last 4 digits of account number




Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 8 of 10
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 Debtor 1              John                                      Rutledge                                            Case number (if known)
                       First Name           Middle Name          Last Name

 Part 3: List Others to Be Notified About a Debt That You Already Listed Additional Page

        IC Systems                                                    On which entry in Part 1 or Part 2 did you list the original creditor?
       Name
        PO Box 63478                                                  Line   4.5   of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Number           Street                                                                    ✔
                                                                                                  ❑    Part 2: Creditors with Nonpriority Unsecured Claims
        St. Paul, MN 55164
       City                                  State    ZIP Code        Last 4 digits of account number

        Diversified Consultants                                       On which entry in Part 1 or Part 2 did you list the original creditor?
       Name
        10550 Deerpark Blvd., Ste. 309                                Line   4.2   of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Number           Street                                                                    ✔
                                                                                                  ❑    Part 2: Creditors with Nonpriority Unsecured Claims
        Jacksonville, FL 32256
       City                                  State    ZIP Code        Last 4 digits of account number

        Credit Systems                                                On which entry in Part 1 or Part 2 did you list the original creditor?
       Name
        P O Box 1088                                                  Line 4.12 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Number           Street                                                                    ✔
                                                                                                  ❑    Part 2: Creditors with Nonpriority Unsecured Claims
        Arlington, TX 76004
       City                                  State    ZIP Code        Last 4 digits of account number




Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 9 of 10
                           Case 18-40950      Doc 1      Filed 05/05/18   Entered 05/05/18 09:44:28   Desc Main Document     Page 32 of 66
 Debtor 1              John                                          Rutledge                                   Case number (if known)
                       First Name           Middle Name              Last Name

 Part 4: Add the Amounts for Each Type of Unsecured Claim

  6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
     type of unsecured claim.




                                                                                               Total claim


                   6a. Domestic support obligations                                  6a.                           $0.00
 Total claims
 from Part 1       6b. Taxes and certain other debts you owe the                     6b.                      $136,018.00
                       government

                   6c. Claims for death or personal injury while you                 6c.                           $0.00
                       were intoxicated

                   6d. Other. Add all other priority unsecured claims.               6d.   +                    $3,500.00
                       Write that amount here.

                   6e. Total. Add lines 6a through 6d.                               6e.                       $139,518.00




                                                                                               Total claim


                   6f. Student loans                                                 6f.                            $0.00
 Total claims
 from Part 2       6g. Obligations arising out of a separation                       6g.                            $0.00
                       agreement or divorce that you did not report as
                       priority claims

                   6h. Debts to pension or profit-sharing plans, and                 6h.                            $0.00
                       other similar debts

                   6i. Other. Add all other nonpriority unsecured claims.            6i.   +                  $274,490.00
                       Write that amount here.

                   6j. Total. Add lines 6f through 6i.                               6j.                       $274,490.00




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                      page 10 of 10
                               Case 18-40950       Doc 1   Filed 05/05/18   Entered 05/05/18 09:44:28       Desc Main Document          Page 33 of 66
 Fill in this information to identify your case:

     Debtor 1              John                                   Rutledge
                           First Name          Middle Name        Last Name

     Debtor 2              First Name          Middle Name        Last Name
     (Spouse, if filing)

     United States Bankruptcy Court for the:                      Eastern District of Texas

     Case number                                                                                                                             ❑Check if this is an
     (if known)                                                                                                                                   amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                                    12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any additional pages, write your name and case number (if
known).

 1.     Do you have any executory contracts or unexpired leases?
        ❑No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        ✔Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).
        ❑
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for example, rent,
       vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and unexpired leases.



       Person or company with whom you have the contract or lease                               State what the contract or lease is for

2.1                                                                                              Residential Lease
        Tony Palameddessi                                                                        Contract to be ASSUMED
        Name
        Po Box 344
        Number     Street
        Frisco, TX 75034-0006
        City                              State     ZIP Code

2.2

        Name

        Number         Street

        City                              State     ZIP Code

2.3

        Name

        Number         Street

        City                              State     ZIP Code

2.4

        Name

        Number         Street

        City                              State     ZIP Code

2.5

        Name

        Number         Street

        City                              State     ZIP Code


Official Form 106G                                             Schedule G: Executory Contracts and Unexpired Leases                                                 page 1 of 1
                               Case 18-40950        Doc 1   Filed 05/05/18      Entered 05/05/18 09:44:28     Desc Main Document          Page 34 of 66
 Fill in this information to identify your case:

  Debtor 1                John                                         Rutledge
                          First Name             Middle Name           Last Name

  Debtor 2                First Name             Middle Name           Last Name
  (Spouse, if filing)

  United States Bankruptcy Court for the:                              Eastern District of Texas

  Case number                                                                                                                                  ❑Check if this is an
  (if known)                                                                                                                                        amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                                                12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people are filing together,
both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out, and number the entries in the boxes on
the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      ✔ No
      ❑
      ❑Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona, California, Idaho,
    Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      ❑No. Go to line 3.
      ✔Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
      ❑
        ❑No
        ✔Yes. In which community state or territory did you live?
        ❑                                                                                                   . Fill in the name and current address of that person.


               Name

               Number          Street

               City                                State    ZIP Code

 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in line 2 again as a
    codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form 106D), Schedule E/F (Official
    Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

      Column 1: Your codebtor                                                                                   Column 2: The creditor to whom you owe the debt
                                                                                                                  Check all schedules that apply:
3.1                                                                                                               ❑Schedule D, line
      Name
                                                                                                                  ❑Schedule E/F, line
      Number          Street                                                                                      ❑Schedule G, line
      City                               State       ZIP Code

Official Form 106H                                                                Schedule H: Your Codebtors                                                          page 1 of 1
                               Case 18-40950       Doc 1   Filed 05/05/18   Entered 05/05/18 09:44:28          Desc Main Document       Page 35 of 66
 Fill in this information to identify your case:

  Debtor 1              John                                      Rutledge
                        First Name             Middle Name        Last Name

  Debtor 2              First Name             Middle Name        Last Name
  (Spouse, if filing)                                                                                                               Check if this is:
  United States Bankruptcy Court for the:                         Eastern District of Texas                                         ❑An amended filing
  Case number                                                                                                                       ❑A supplement showing postpetition
                                                                                                                                       chapter 13 income as of the following date:
  (if known)

                                                                                                                                       MM / DD / YYYY

Official Form 106I
Schedule I: Your Income                                                                                                                                                  12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for supplying correct
information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse. If you are separated and your
spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Employment


 1. Fill in your employment
    information.                                                                 Debtor 1                                             Debtor 2 or non-filing spouse

                                                                              ❑Employed                                         ❑Employed
                                                                              ✔ Not Employed
     If you have more than one job,            Employment status
     attach a separate page with                                              ❑                                                 ❑Not Employed
     information about additional
     employers.
                                               Occupation
     Include part time, seasonal, or
     self-employed work.                       Employer's name

     Occupation may include student
                                               Employer's address
     or homemaker, if it applies.                                             Number Street                                     Number Street




                                                                              City                     State     Zip Code       City                    State      Zip Code

                                               How long employed there?


 Part 2: Give Details About Monthly Income


     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse unless you
     are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need more space,
     attach a separate sheet to this form.

                                                                                                           For Debtor 1      For Debtor 2 or
                                                                                                                             non-filing spouse

 2. List monthly gross wages, salary, and commissions (before all payroll
    deductions.) If not paid monthly, calculate what the monthly wage would be.               2.                   $0.00                      $0.00

 3. Estimate and list monthly overtime pay.                                                   3.   +               $0.00    +                 $0.00


 4. Calculate gross income. Add line 2 + line 3.                                              4.                   $0.00                      $0.00




Official Form 106I                                                             Schedule I: Your Income                                                                  page 1
 Debtor 1                  JohnCase 18-40950                   Doc 1        Filed 05/05/18  Entered 05/05/18 09:44:28
                                                                                        Rutledge                                    Desc Main Document
                                                                                                                                               Case numberPage   36 of 66
                                                                                                                                                          (if known)
                            First Name                      Middle Name                         Last Name


                                                                                                                                    For Debtor 1       For Debtor 2 or
                                                                                                                                                       non-filing spouse
      Copy line 4 here....................................................................................➔            4.                  $0.00                   $0.00
 5.   List all payroll deductions:

      5a. Tax, Medicare, and Social Security deductions                                                                5a.                 $0.00                   $0.00

      5b. Mandatory contributions for retirement plans                                                                 5b.                 $0.00                   $0.00

      5c. Voluntary contributions for retirement plans                                                                 5c.                 $0.00                   $0.00

      5d. Required repayments of retirement fund loans                                                                 5d.                 $0.00                   $0.00

      5e. Insurance                                                                                                    5e.                 $0.00                   $0.00

      5f. Domestic support obligations                                                                                 5f.                 $0.00                   $0.00

      5g. Union dues                                                                                                   5g.                 $0.00                   $0.00

                                                                                                                       5h.
                                                                                                                             +             $0.00       +           $0.00
      5h. Other deductions. Specify:
 6.   Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                      6.                  $0.00                   $0.00
 7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                                              7.                  $0.00                   $0.00
 8.   List all other income regularly received:

      8a. Net income from rental property and from operating a business,
          profession, or farm
            Attach a statement for each property and business showing gross receipts,
            ordinary and necessary business expenses, and the total monthly net income.
                                                                                                                       8a.                 $0.00                   $0.00
      8b. Interest and dividends
                                                                                                                       8b.                 $0.00                   $0.00
      8c. Family support payments that you, a non-filing spouse, or a dependent
          regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                                                       8c.                 $0.00                   $0.00
      8d. Unemployment compensation                                                                                    8d.                 $0.00                   $0.00
      8e. Social Security                                                                                              8e.                 $0.00                   $0.00
      8f. Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
                                                                                                                       8f.                 $0.00                   $0.00
            Specify:
                                                                                                                       8g.                 $0.00                   $0.00
      8g. Pension or retirement income
      8h. Other monthly income. Specify:                                                                               8h.   +             $0.00       +           $0.00



 9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                            9.                  $0.00                    $0.00

 10. Calculate monthly income. Add line 7 + line 9.
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse                                         10.                 $0.00   +                $0.00        =           $0.00

 11. State all other regular contributions to the expenses that you list in Schedule J.
      Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
      friends or relatives.
      Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

      Specify:                                                                                                                                                         11. +              $0.00
 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. Write that
     amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                                               12.              $0.00
                                                                                                                                                                                 Combined
                                                                                                                                                                                 monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
      ✔ No.
      ❑
      ❑Yes. Explain:


Official Form 106I                                                                                        Schedule I: Your Income                                                          page 2
                               Case 18-40950       Doc 1    Filed 05/05/18       Entered 05/05/18 09:44:28   Desc Main Document          Page 37 of 66
 Fill in this information to identify your case:

  Debtor 1              John                                         Rutledge
                        First Name             Middle Name           Last Name                                      Check if this is:
  Debtor 2              First Name             Middle Name           Last Name                                      ❑An amended filing
  (Spouse, if filing)
                                                                                                                    ❑A supplement showing postpetition
  United States Bankruptcy Court for the:                            Eastern District of Texas                           chapter 13 income as of the following date:

  Case number
                                                                                                                         MM / DD / YYYY
  (if known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1: Describe Your Household

 1. Is this a joint case?

     ✔No. Go to line 2.
     ❑
     ❑Yes. Does Debtor 2 live in a separate household?
            ❑No
            ❑Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
 2. Do you have dependents?                        ❑No
     Do not list Debtor 1 and                      ✔Yes. Fill out this information for
                                                   ❑                                       Dependent's relationship to           Dependent's         Does dependent live
     Debtor 2.                                                                             Debtor 1 or Debtor 2                  age                 with you?
                                                      each dependent...............
     Do not state the dependents' names.                                                                                                             ❑No.
                                                                                           Child                                 19                  ✔Yes.
                                                                                                                                                     ❑
                                                                                                                                                     ❑No.
                                                                                           Child                                 16                  ✔Yes.
                                                                                                                                                     ❑
                                                                                                                                                     ❑No
                                                                                                                                                     ❑Yes
                                                                                                                                                     ❑No
                                                                                                                                                     ❑Yes
                                                                                                                                                     ❑No
                                                                                                                                                     ❑Yes
 3. Do your expenses include expenses              ✔ No
                                                   ❑
    of people other than yourself and
    your dependents?
                                                   ❑Yes


 Part 2: Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report expenses as of a date after
 the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the applicable date.

 Include expenses paid for with non-cash government assistance if you know the value of                                                      Your expenses
 such assistance and have included it on Schedule I: Your Income (Official Form 106I.)

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and any rent for the
    ground or lot.                                                                                                                 4.                       $3,500.00


     If not included in line 4:
                                                                                                                                   4a.                          $0.00
     4a. Real estate taxes
                                                                                                                                   4b.                          $0.00
     4b. Property, homeowner's, or renter's insurance
                                                                                                                                   4c.                          $0.00
     4c. Home maintenance, repair, and upkeep expenses
                                                                                                                                   4d.                          $0.00
     4d. Homeowner's association or condominium dues




Official Form 106J                                                                    Schedule J: Your Expenses                                                         page 1
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                                                                                                                             (if known)
                       First Name               Middle Name             Last Name


                                                                                                                                  Your expenses

 5.    Additional mortgage payments for your residence, such as home equity loans                                        5.

 6.    Utilities:

       6a. Electricity, heat, natural gas                                                                                6a.                      $350.00

       6b. Water, sewer, garbage collection                                                                              6b.                      $200.00

       6c. Telephone, cell phone, Internet, satellite, and cable services                                                6c.                      $400.00

       6d. Other. Specify:                         Other utilities                                                       6d.                      $225.00

 7.    Food and housekeeping supplies                                                                                    7.                       $350.00

 8.    Childcare and children’s education costs                                                                          8.                         $0.00

 9.    Clothing, laundry, and dry cleaning                                                                               9.                        $65.00

 10. Personal care products and services                                                                                 10.                        $0.00

 11.   Medical and dental expenses                                                                                       11.                      $200.00

 12. Transportation. Include gas, maintenance, bus or train fare.
     Do not include car payments.                                                                                        12.                   $1,050.00

 13. Entertainment, clubs, recreation, newspapers, magazines, and books                                                  13.                        $0.00

 14. Charitable contributions and religious donations                                                                    14.                        $0.00

 15. Insurance.
       Do not include insurance deducted from your pay or included in lines 4 or 20.

                                                                                                                         15a.                       $0.00
       15a. Life insurance
                                                                                                                         15b.                       $0.00
       15b. Health insurance
                                                                                                                         15c.                     $250.00
       15c. Vehicle insurance
                                                                                                                         15d.                       $0.00
       15d. Other insurance. Specify:

 16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
       Specify:                                                                                                          16.                        $0.00

 17. Installment or lease payments:

       17a. Car payments for Vehicle 1                                                                                   17a.                     $762.00

       17b. Car payments for Vehicle 2                                                                                   17b.

       17c. Other. Specify:                   Other Payments                                                             17c.                       $0.00

       17d. Other. Specify:                 Recreational Vehicle                                                         17d.                       $0.00

 18. Your payments of alimony, maintenance, and support that you did not report as deducted
     from your pay on line 5, Schedule I, Your Income (Official Form 106I).                                              18.                        $0.00

 19. Other payments you make to support others who do not live with you.
       Specify:                                                                                                          19.                        $0.00

 20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

       20a. Mortgages on other property                                                                                  20a.                       $0.00

       20b. Real estate taxes                                                                                            20b.                       $0.00

       20c. Property, homeowner’s, or renter’s insurance                                                                 20c.                       $0.00
       20d. Maintenance, repair, and upkeep expenses                                                                     20d.                       $0.00
       20e. Homeowner’s association or condominium dues                                                                  20e.                       $0.00

Official Form 106J                                                              Schedule J: Your Expenses                                                   page 2
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 21. Other. Specify:                                                                                                    21.    +                    $0.00

 22. Calculate your monthly expenses.

      22a. Add lines 4 through 21.                                                                                      22a.                   $7,352.00

      22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                              22b.                       $0.00

      22c. Add line 22a and 22b. The result is your monthly expenses.                                                   22c.                   $7,352.00


 23. Calculate your monthly net income.

      23a. Copy line 12 (your combined monthly income) from Schedule I.                                                 23a.                       $0.00

      23b. Copy your monthly expenses from line 22c above.                                                              23b.   –                $7,352.00

      23c. Subtract your monthly expenses from your monthly income.
                                                                                                                        23c.                  ($7,352.00)
            The result is your monthly net income.



 24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      ✔ No.
      ❑              None
      ❑Yes.




Official Form 106J                                                             Schedule J: Your Expenses                                                    page 3
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 Fill in this information to identify your case:

  Debtor 1                 John                                                      Rutledge
                           First Name                    Middle Name                 Last Name

  Debtor 2                 First Name                    Middle Name                 Last Name
  (Spouse, if filing)

  United States Bankruptcy Court for the:                                            Eastern District of Texas

  Case number                                                                                                                                                                       ❑Check if this is an
  (if known)                                                                                                                                                                           amended filing


Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical
Information                                                                                                                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Fill out all of your
schedules first; then complete the information on this form. If you are filing amended schedules after you file your original forms, you must fill out a new Summary
and check the box at the top of this page.


 Part 1: Summarize Your Assets


                                                                                                                                                                                           Your assets
                                                                                                                                                                                           Value of what you own

 1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B...........................................................................................................                                             $0.00


    1b. Copy line 62, Total personal property, from Schedule A/B................................................................................................                                              $18,506.00


    1c. Copy line 63, Total of all property on Schedule A/B...........................................................................................................                                        $18,506.00



 Part 2: Summarize Your Liabilities



                                                                                                                                                                                           Your liabilities
                                                                                                                                                                                           Amount you owe

 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.......                                                                                 $11,300.00

 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                                                           $139,518.00
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F......................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F.................................                                                     +               $274,490.00


                                                                                                                                                                  Your total liabilities                   $425,308.00

 Part 3: Summarize Your Income and Expenses

 4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I..........................................................................................                                                        $0.00


 5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J..................................................................................                                                                   $7,352.00




Official Form 106Sum                                                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                              page 1 of 2
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 Debtor 1             John                                           Rutledge                                         Case number (if known)
                      First Name             Middle Name               Last Name



 Part 4: Answer These Questions for Administrative and Statistical Records



6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
   ❑    No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
   ✔
   ❑    Yes



7. What kind of debt do you have?
   ✔
   ❑    Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
        family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

   ❑    Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
        this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
   Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                             $0.00




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                                       Total claim

       From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)                                                                                        $0.00



    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                                         $136,018.00



    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                                                     $0.00



    9d. Student loans. (Copy line 6f.)                                                                                                      $0.00



    9e.Obligations arising out of a separation agreement or divorce that you did not report as priority                                     $0.00
       claims. (Copy line 6g.)



    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                         +                       $0.00



    9g. Total. Add lines 9a through 9f.                                                                                              $136,018.00




Official Form 106Sum                                   Summary of Your Assets and Liabilities and Certain Statistical Information                   page 2 of 2
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 Fill in this information to identify your case:

  Debtor 1              John                                      Rutledge
                        First Name             Middle Name        Last Name

  Debtor 2              First Name             Middle Name        Last Name
  (Spouse, if filing)

  United States Bankruptcy Court for the:                         Eastern District of Texas

  Case number                                                                                                                              ❑Check if this is an
  (if known)                                                                                                                                  amended filing


Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                                    12/15
If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below



   Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

   ✔ No
   ❑
   ❑Yes. Name of person                                                                  . Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature
                                                                                           (Official Form 119).




   Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaraion and that they are true and correct.




   ✘ /s/ John Rutledge
        John Rutledge, Debtor 1                                             ✘
        Date 05/05/2018                                                         Date
                MM/ DD/ YYYY                                                           MM/ DD/ YYYY




Official Form 106Dec                                            Declaration About an Individual Debtor's Schedules
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 Fill in this information to identify your case:

  Debtor 1              John                                      Rutledge
                        First Name             Middle Name        Last Name

  Debtor 2              First Name             Middle Name        Last Name
  (Spouse, if filing)

  United States Bankruptcy Court for the:                         Eastern District of Texas

  Case number                                                                                                                           ❑Check if this is an
  (if known)                                                                                                                               amended filing


Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                04/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.



 Part 1: Give Details About Your Marital Status and Where You Lived Before


 1. What is your current marital status?

    ✔ Married
    ❑
    ❑ Not married

 2. During the last 3 years, have you lived anywhere other than where you live now?

    ❑ No
    ✔ Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
    ❑
         Debtor 1:                                                Dates Debtor 1 lived      Debtor 2:                                               Dates Debtor 2 lived
                                                                  there                                                                             there


                                                                                           ❑ Same as Debtor 1                                   ❑ Same as Debtor 1
        4568 childress Trail                                     From 08/01/2011                                                                From
       Number       Street                                                                    Number    Street
                                                                 To     08/31/2015                                                              To

        Frisco, TX 75034
       City                               State ZIP Code                                      City                        State ZIP Code



                                                                                           ❑ Same as Debtor 1                                   ❑ Same as Debtor 1
                                                                 From                                                                           From
       Number       Street                                                                    Number    Street
                                                                 To                                                                             To



       City                               State ZIP Code                                      City                        State ZIP Code




 3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property states and territories
    include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

    ❑ No
    ✔ Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).
    ❑




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                                                                                                                                (if known)
                      First Name             Middle Name                 Last Name




 Part 2: Explain the Sources of Your Income



 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
    Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
    If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                         Debtor 1                                                Debtor 2

                                                         Sources of income           Gross Income                Sources of income            Gross Income
                                                         Check all that apply.       (before deductions and      Check all that apply.        (before deductions and
                                                                                     exclusions)                                              exclusions)


     From January 1 of current year until the        ❑ Wages, commissions,                                      ❑ Wages, commissions,
     date you filed for bankruptcy:                        bonuses, tips                                            bonuses, tips
                                                     ❑Operating a business                                      ❑Operating a business

     For last calendar year:                         ✔ Wages, commissions,
                                                     ❑                                                          ❑ Wages, commissions,
                                                           bonuses, tips                       $58,912.31           bonuses, tips
     (January 1 to December 31, 2017         )
                                      YYYY           ✔ Operating a business
                                                     ❑                                         $58,912.31       ❑Operating a business

     For the calendar year before that:              ✔ Wages, commissions,
                                                     ❑                                                          ❑ Wages, commissions,
                                                           bonuses, tips                       $88,000.00           bonuses, tips
     (January 1 to December 31, 2016         )
                                      YYYY           ✔ Operating a business
                                                     ❑                                         $88,000.00       ❑Operating a business

 5. Did you receive any other income during this year or the two previous calendar years?
    Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and other public benefit
    payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If you are filing a joint case and you
    have income that you received together, list it only once under Debtor 1.
    List each source and the gross income from each source separately. Do not include income that you listed in line 4.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.

                                                         Debtor 1                                                Debtor 2

                                                         Sources of income           Gross income from each      Sources of income            Gross Income from each
                                                         Describe below.             source                      Describe below.              csoure
                                                                                     (before deductions and                                   (before deductions and
                                                                                     exclusions)                                              exclusions)


     From January 1 of current year until the
     date you filed for bankruptcy:




     For last calendar year:
     (January 1 to December 31, 2017         )
                                      YYYY




     For the calendar year before that:
     (January 1 to December 31, 2016         )
                                      YYYY




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                       First Name              Middle Name              Last Name




 Part 3: List Certain Payments You Made Before You Filed for Bankruptcy

 6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

    ❑No.       Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
               individual primarily for a personal, family, or household purpose.”
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

               ❑No. Go to line 7.
               ❑Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you paid that
                          creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do not include
                          payments to an attorney for this bankruptcy case.
               * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

    ✔Yes.
    ❑          Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

               ✔No. Go to line 7.
               ❑
               ❑Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not include
                          payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an attorney for
                          this bankruptcy case.



                                                                 Dates of             Total amount paid            Amount you still owe         Was this payment for…
                                                                 payment

                                                                                                                                               ❑Mortgage
                Creditor's Name                                                                                                                ❑Car
                                                                                                                                               ❑Credit card
                Number      Street                                                                                                             ❑Loan repayment
                                                                                                                                               ❑Suppliers or vendors
                                                                                                                                               ❑Other
                City                   State      ZIP Code


                                                                                                                                               ❑Mortgage
                Creditor's Name                                                                                                                ❑Car
                                                                                                                                               ❑Credit card
                Number      Street                                                                                                             ❑Loan repayment
                                                                                                                                               ❑Suppliers or vendors
                                                                                                                                               ❑Other
                City                   State      ZIP Code


 7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
    Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of which you are an
    officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a business you operate as a sole
    proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

    ✔ No
    ❑
    ❑Yes. List all payments to an insider.


                                                             Dates of            Total amount paid      Amount you still owe         Reason for this payment
                                                             payment




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                      First Name             Middle Name               Last Name




     Insider's Name


     Number      Street




     City                        State    ZIP Code




     Insider's Name


     Number      Street




     City                        State    ZIP Code



 8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an insider?
    Include payments on debts guaranteed or cosigned by an insider.

    ✔ No
    ❑
    ❑Yes. List all payments that benefited an insider.


                                                           Dates of             Total amount paid       Amount you still owe      Reason for this payment
                                                           payment                                                               Include creditor’s name



     Insider's Name


     Number      Street




     City                        State    ZIP Code




     Insider's Name


     Number      Street




     City                        State    ZIP Code



 Part 4: Identify Legal Actions, Repossessions, and Foreclosures


 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
    List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications, and contract
    disputes.

    ❑No
    ✔Yes. Fill in the details.
    ❑


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                     First Name             Middle Name             Last Name


                                                   Nature of the case                        Court or agency                                 Status of the case


                                                                                                                                            ✔Pending
                                                   Eviction
     Case title      Anthony Palamidessi vs.
                     John Rutledge, Kelly
                                                                                            Justice Court Precinct Two                      ❑
                                                                                                                                            ❑On appeal
                                                                                            Court Name
                     Rutledge, and All Other
                                                                                                                                            ❑Concluded
                     Occupants of 3268                                                      Frisco Government Center
                     Woodbine Trail Frisco, TX                                              5533 Fm 423 # 901
                     75034                                                                  Number       Street
                                                                                            Frisco, TX 75034-8975
     Case number E18-213J2
                                                                                            City                    State       ZIP Code


     Case title                                                                                                                             ❑Pending
                                                                                            Court Name                                      ❑On appeal
                                                                                                                                            ❑Concluded
                                                                                            Number       Street
     Case number

                                                                                            City                     State       ZIP Code



 10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
     Check all that apply and fill in the details below.

     ✔No. Go to line 11.
     ❑
     ❑Yes. Fill in the information below.


                                                                  Describe the property                                  Date                Value of the property



            Creditor’s Name


            Number     Street                                     Explain what happened

                                                                 ❑Property was repossessed.
                                                                 ❑Property was foreclosed.
                                                                 ❑Property was garnished.
            City                       State      ZIP Code       ❑Property was attached, seized, or levied.
                                                                  Describe the property                                  Date                Value of the property



            Creditor’s Name


            Number     Street                                     Explain what happened

                                                                 ❑Property was repossessed.
                                                                 ❑Property was foreclosed.
                                                                 ❑Property was garnished.
            City                       State      ZIP Code       ❑Property was attached, seized, or levied.

 11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your accounts or refuse to
     make a payment because you owed a debt?

     ❑No
     ✔Yes. Fill in the details.
     ❑




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                                                                 Describe the action the creditor took                      Date action was   Amount
        Wells Fargo                                                                                                         taken
       Creditor’s Name
                                                                                                                           01/22/2018                  $2,880.80
       Number        Street



       City                          State     ZIP Code
                                                                Last 4 digits of account number: XXXX–

 12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a court-appointed receiver,
     a custodian, or another official?

     ✔ No
     ❑
     ❑Yes

 Part 5: List Certain Gifts and Contributions



 13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

    ✔ No
    ❑
    ❑Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600 per           Describe the gifts                                        Dates you gave      Value
       person                                                                                                             the gifts



      Person to Whom You Gave the Gift




      Number        Street



      City                            State    ZIP Code

      Person’s relationship to you

       Gifts with a total value of more than $600 per           Describe the gifts                                        Dates you gave      Value
       person                                                                                                             the gifts



      Person to Whom You Gave the Gift




      Number        Street



      City                            State    ZIP Code

      Person’s relationship to you


 14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

     ✔ No
     ❑
     ❑Yes. Fill in the details for each gift or contribution.


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                                                                                                                             (if known)
                      First Name          Middle Name                Last Name


        Gifts or contributions to charities that     Describe what you contributed                                 Date you               Value
        total more than $600                                                                                       contributed



       Charity’s Name




       Number       Street



       City                   State   ZIP Code



 Part 6: List Certain Losses


 15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or gambling?

     ✔ No
     ❑
     ❑Yes. Fill in the details.

        Describe the property you lost and         Describe any insurance coverage for the loss                    Date of your loss      Value of property lost
        how the loss occurred                    Include the amount that insurance has paid. List pending
                                                 insurance claims on line 33 of Schedule A/B: Property.




 Part 7: List Certain Payments or Transfers


 16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you consulted about seeking
     bankruptcy or preparing a bankruptcy petition?
     Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

     ❑No
     ✔Yes. Fill in the details.
     ❑
                                                     Description and value of any property transferred             Date payment or        Amount of payment
        Pratt Law, PLLC                                                                                            transfer was made
       Person Who Was Paid                          Attorney’s Fee
                                                                                                                   May 05, 2018                           $0.00
        2591 Dallas Pkwy Ste 505
       Number       Street




        Frisco, TX 75034-8564
       City                   State   ZIP Code


       Email or website address


       Person Who Made the Payment, if Not You




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                                                                  Rutledge                            Desc Main Document
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                                                                                                                            (if known)
                      First Name           Middle Name             Last Name


                                                   Description and value of any property transferred               Date payment or         Amount of payment
                                                                                                                   transfer was made
        Person Who Was Paid


        Number      Street




        City                   State   ZIP Code


        Email or website address


        Person Who Made the Payment, if Not You



17.   Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who promised to help you
      deal with your creditors or to make payments to your creditors?
      Do not include any payment or transfer that you listed on line 16.

      ✔ No
      ❑
      ❑Yes. Fill in the details.
                                                   Description and value of any property transferred               Date payment or         Amount of payment
                                                                                                                   transfer was made
        Person Who Was Paid



        Number      Street




        City                   State   ZIP Code


18.   Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property transferred in the ordinary
      course of your business or financial affairs?
      Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
      Do not include gifts and transfers that you have already listed on this statement.
      ✔ No
      ❑
      ❑Yes. Fill in the details.
                                                   Description and value of property            Describe any property or payments received      Date transfer was
                                                   transferred                                  or debts paid in exchange                       made

        Person Who Received Transfer


        Number      Street




        City                   State   ZIP Code

        Person's relationship to you




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                                                                                                                                 (if known)
                       First Name            Middle Name               Last Name




        Person Who Received Transfer


       Number       Street




       City                    State   ZIP Code

       Person's relationship to you

 19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a beneficiary?(These are
     often called asset-protection devices.)
     ✔ No
     ❑
     ❑Yes. Fill in the details.
                                                     Description and value of the property transferred                                                  Date transfer was
                                                                                                                                                        made


       Name of trust




 Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

 20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed, sold, moved, or
     transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage houses, pension
     funds, cooperatives, associations, and other financial institutions.

     ❑No
     ✔Yes. Fill in the details.
     ❑
                                                       Last 4 digits of account number           Type of account or          Date account was             Last balance
                                                                                                 instrument                  closed, sold, moved, or      before closing or
                                                                                                                             transferred                  transfer
        Wells Fargo
                                                                                               ✔Checking
                                                                                                                              01/19/2018                             $0.00
                                                                                               ❑
       Name of Financial Institution                   XXXX– 8         3    6      6
        4851 LegacyDr., Suite 100                                                              ❑Savings
       Number       Street
                                                                                               ❑Money market
                                                                                               ❑Brokerage
                                                                                               ❑Other
        Frisco, TX 75034
       City                   State    ZIP Code


       Name of Financial Institution
                                                       XXXX–                                   ❑Checking
                                                                                               ❑Savings
       Number       Street
                                                                                               ❑Money market
                                                                                               ❑Brokerage
                                                                                               ❑Other
       City                   State    ZIP Code


 21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities, cash, or other valuables?

     ✔ No
     ❑
     ❑Yes. Fill in the details.


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                                                                                                                                   (if known)
                      First Name             Middle Name                 Last Name


                                                         Who else had access to it?                       Describe the contents                             Do you still have
                                                                                                                                                            it?

                                                                                                                                                           ❑No
       Name of Financial Institution                    Name
                                                                                                                                                           ❑Yes

       Number       Street                              Number       Street



                                                        City                   State   ZIP Code

       City                    State   ZIP Code

 22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

     ✔ No
     ❑
     ❑Yes. Fill in the details.
                                                         Who else has or had access to it?                Describe the contents                             Do you still have
                                                                                                                                                            it?

                                                                                                                                                           ❑No
       Name of Storage Facility                         Name
                                                                                                                                                           ❑Yes

       Number       Street                              Number       Street



                                                        City                   State   ZIP Code

       City                    State   ZIP Code

 Part 9: Identify Property You Hold or Control for Someone Else

 23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for someone.

     ✔ No
     ❑
     ❑Yes. Fill in the details.
                                                         Where is the property?                           Describe the property                             Value


       Owner's Name
                                                        Number       Street


       Number       Street

                                                        City                   State   ZIP Code


       City                    State   ZIP Code


 Part 10: Give Details About Environmental Information

 For the purpose of Part 10, the following definitions apply:
     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or toxic substances, wastes,
     or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations controlling the cleanup of these substances,
     wastes, or material.
     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to own, operate, or utilize it,
     including disposal sites.
     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant,
     contaminant, or similar term.
 Report all notices, releases, and proceedings that you know about, regardless of when they occurred.




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                                                                                                                                    (if known)
                        First Name             Middle Name               Last Name



 24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

      ✔ No
      ❑
      ❑Yes. Fill in the details.
                                                         Governmental unit                           Environmental law, if you know it                Date of notice


        Name of site                                   Governmental unit



        Number       Street                            Number       Street


                                                       City                  State   ZIP Code


        City                    State    ZIP Code


25.   Have you notified any governmental unit of any release of hazardous material?
      ✔ No
      ❑
      ❑Yes. Fill in the details.
                                                         Governmental unit                           Environmental law, if you know it                Date of notice


        Name of site                                   Governmental unit



        Number       Street                            Number       Street


                                                       City                  State   ZIP Code


        City                    State    ZIP Code


 26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
      ✔ No
      ❑
      ❑Yes. Fill in the details.
                                                         Court or agency                             Nature of the case                               Status of the case


        Case title
                                                       Court Name
                                                                                                                                                      ❑Pending
                                                                                                                                                      ❑On appeal
                                                                                                                                                      ❑Concluded
                                                       Number       Street


        Case number
                                                       City                  State   ZIP Code


 Part 11: Give Details About Your Business or Connections to Any Business

 27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
            ✔ A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
            ❑
            ❑ A member of a limited liability company (LLC) or limited liability partnership (LLP)
            ❑ A partner in a partnership
            ❑ An officer, director, or managing executive of a corporation
            ❑ An owner of at least 5% of the voting or equity securities of a corporation
      ❑No. None of the above applies. Go to Part 12.
      ✔Yes. Check all that apply above and fill in the details below for each business.
      ❑


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                                                                                                                                   (if known)
                      First Name              Middle Name                Last Name


                                                         Describe the nature of the business                         Employer Identification number
        John T. Rutledge                                                                                             Do not include Social Security number or ITIN.
        Name
                                                                                                                      EIN:    4   4 – 9      1     9   3   8   9   7
        3268 Woodbine Trail
        Number      Street
                                                         Name of accountant or bookkeeper                            Dates business existed


        Frisco, TX 75034                                                                                              From                    To
        City                   State    ZIP Code

                                                         Describe the nature of the business                         Employer Identification number
                                                                                                                     Do not include Social Security number or ITIN.
        Name
                                                                                                                      EIN:           –

        Number      Street
                                                         Name of accountant or bookkeeper                            Dates business existed

                                                                                                                      From                    To

        City                   State    ZIP Code

                                                         Describe the nature of the business                         Employer Identification number
                                                                                                                     Do not include Social Security number or ITIN.
        Name
                                                                                                                      EIN:           –

        Number      Street
                                                         Name of accountant or bookkeeper                            Dates business existed

                                                                                                                      From                    To

        City                   State    ZIP Code

 28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial institutions, creditors, or other
     parties.

     ✔ No
     ❑
     ❑Yes. Fill in the details below.
                                                         Date issued



        Name                                            MM / DD / YYYY



        Number      Street




        City                   State    ZIP Code


 Part 12: Sign Below

    I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are true and
    correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy case
    can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



    ✘                         /s/ John Rutledge                             ✘
         Signature of Debtor 1                                                   Signature of Debtor 2


         Date 05/05/2018                                                         Date




Official Form 107                                           Statement of Financial Affairs for Individuals Filing for Bankruptcy                                            page 12
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                                                                                                                         (if known)
                    First Name           Middle Name             Last Name



    Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

    ✔ No
    ❑
    ❑Yes
    Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

    ✔ No
    ❑
    ❑Yes. Name of person                                                                     .       Attach the Bankruptcy Petition Preparer’s Notice,
                                                                                                     Declaration, and Signature (Official Form 119).




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 13
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B2030 (Form 2030)(12/15)



                                        United States Bankruptcy Court
                                                   Eastern District of Texas

In re
Rutledge, John
                                                                                                        Case No.

Debtor                                                                                                  Chapter        13


                            DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.    Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above
      named debtor(s) and that compensation paid to me within one year before the filing of the petition in
      bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of the
      debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

      For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . .                   $3,500.00
      ..

      Prior to the filing of this statement I have received . . . . . . . . . . . . . . . . . .                           $0.00
      ...

      Balance Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .     $3,500.00
      .


2.   The source of the compensation to be paid to me was:

          ✔
          ❑     Debtor                              ❑     Other (specify)

3.   The source of compensation to be paid to me is:

          ✔
          ❑     Debtor                              ❑     Other (specify)

4.   ✔ I have not agreed to share the above-disclosed compensation with any other person
     ❑
     unless they are members and associates of my law firm.

     ❑ I have agreed to share the above-disclosed compensation with a other person or
     persons who are not members or associates of my law firm. A copy of the agreement,
     together with a list of the names of the people sharing in the compensation, is attached.

5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects
   of the bankruptcy case, including:

     a.   Analysis of the debtor' s financial situation, and rendering advice to the debtor
          in determining whether to file a petition in bankruptcy;

     b.   Preparation and filing of any petition, schedules, statements of affairs and plan
          which may be required;

     c.   Representation of the debtor at the meeting of creditors and confirmation
          hearing, and any adjourned hearings thereof;
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    6.    By agreement with the debtor(s), the above-disclosed fee does not include the following
          services:




                                                 CERTIFICATION
            I certify that the foregoing is a complete statement of any agreement or
         arrangement for payment to me for representation of the debtor(s) in this bankruptcy
         proceeding.

         05/05/2018                             /s/ Austin Butts
         Date                                       Signature of Attorney

                                                Pratt Book, PLLC
                                                   Name of law firm
                             Case 18-40950         Doc 1   Filed 05/05/18     Entered 05/05/18 09:44:28    Desc Main Document          Page 58 of 66
 Fill in this information to identify your case:                                                                             Check as directed in lines 17 and 21:
                                                                                                                             According to the calculations required by this
  Debtor 1              John                                      Rutledge                                                   Statement:
                        First Name             Middle Name        Last Name
                                                                                                                             ✔1. Disposable income is not determined
                                                                                                                             ❑
  Debtor 2              First Name             Middle Name        Last Name                                                     under 11 U.S.C. § 1325(b)(3).
  (Spouse, if filing)
                                                                                                                             ❑2. Disposable income is determined
  United States Bankruptcy Court for the:                         Eastern District of Texas                                     under 11 U.S.C. § 1325(b)(3).

  Case number                                                                                                                ✔3. The commitment period is 3 years.
                                                                                                                             ❑
  (if known)                                                                                                                 ❑4. The commitment period is 5 years.
                                                                                                                             ❑Check if this is an amended filing

Official Form 122C-1
Chapter 13 Statement of Your Current Monthly Income
and Calculation of Commitment Period                                                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed, attach a
separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and case
number (if known).



 Part 1: Calculate Your Average Monthly Income

 1.   What is your marital and filing status? Check one only.
      ❑Not married. Fill out Column A, lines 2-11.
      ✔ Married. Fill out both Columns A and B, lines 2-11.
      ❑
        Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy
        case.11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount
        of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any
        income amount more than once. For example, if both spouses own the same rental property, put the income from that property in one column only. If
        you have nothing to report for any line, write $0 in the space.
                                                                                                                  Column A               Column B
                                                                                                                  Debtor 1               Debtor 2 or
                                                                                                                                         non-filing spouse

 2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all                                           $0.00                       $0.00
    payroll deductions).

 3. Alimony and maintenance payments. Do not include payments from a spouse.                                                 $0.00                       $0.00


 4. All amounts from any source which are regularly paid for household expenses of
    you or your dependents, including child support. Include regular contributions from
    an unmarried partner, members of your household, your dependents, parents, and roommates. Do
    not include payments from a spouse. Do not include payments you
    listed on line 3.                                                                                                        $0.00                       $0.00


 5. Net income from operating a business, profession, or
    farm                                                                    Debtor 1         Debtor 2
                                                                                 $0.00           $0.00
      Gross receipts (before all deductions)

      Ordinary and necessary operating expenses
                                                                     -           $0.00   -       $0.00

                                                                                 $0.00           $0.00   Copy
      Net monthly income from a business, profession, or farm                                                                $0.00                       $0.00
                                                                                                         here →


 6. Net income from rental and other real property                          Debtor 1         Debtor 2
                                                                                 $0.00           $0.00
      Gross receipts (before all deductions)

      Ordinary and necessary operating expenses
                                                                     -           $0.00   -       $0.00

                                                                                 $0.00           $0.00   Copy
      Net monthly income from rental or other real property                                                                  $0.00                       $0.00
                                                                                                         here →


 Official Form 122C-1                          Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                   page 1
                                     Case 18-40950                 Doc 1         Filed 05/05/18             Entered 05/05/18 09:44:28                 Desc Main Document                        Page 59 of 66
Debtor 1                    John                                                                         Rutledge                                                         Case number (if known)
                            First Name                          Middle Name                              Last Name
                                                                                                                                                       Column A                             Column B
                                                                                                                                                       Debtor 1                             Debtor 2 or
                                                                                                                                                                                            non-filing spouse
     7. Interest, dividends, and royalties                                                                                                                                  $0.00                           $0.00
     8. Unemployment compensation                                                                                                                                           $0.00                           $0.00
           Do not enter the amount if you contend that the amount received was a benefit under
           the Social Security Act. Instead, list it here: ..................................................           ↓
           For you....................................................................................                                $0.00
           For your spouse......................................................................                                      $0.00
     9. Pension or retirement income. Do not include any amount received that was a benefit                                                                                 $0.00                           $0.00
        under the Social Security Act.

     10. Income from all other sources not listed above. Specify the source and amount. Do
         not include any benefits received under the Social Security Act or payments received as
         a victim of a war crime, a crime against humanity, or international or domestic terrorism.
         If necessary, list other sources on a separate page and put the total below.




    Total amounts from separate pages, if any.                                                                                                        +                                         +
                                                                                                                                                                           $0.00                +           $0.00   =           $0.00
     11. Calculate your total average monthly income. Add lines 2 through 10 for each
         column. Then add the total for Column A to the total for Column B.
                                                                                                                                                                                                                        Total average
                                                                                                                                                                                                                        monthly income



Part 2: Determine How to Measure Your Deductions from Income


     12. Copy your total average monthly income from line 11. .................................................................................
                                                                                                                                                                                                                                  $0.00

     13. Calculate the marital adjustment. Check one:

   ❑You are not married. Fill in 0 below.
   ❑You are married and your spouse is filing with you. Fill in 0 below.
   ✔You are married and your spouse is not filing with you.
   ❑
      Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of you or your
      dependents, such as payment of the spouse’s tax liability or the spouse’s support of someone other than you or your dependents.
      Below, specify the basis for excluding this income and the amount of income devoted to each purpose. If necessary, list additional
      adjustments on a separate page.
      If this adjustment does not apply, enter 0 below.




                                                                                                                                           +

      Total...........................................................................................                                                          $0.00
                                                                                                                                                                               Copy here. →
                                                                                                                                                                                                                -              $0.00

                                                                                                                                                                                                                                 $0.00
     14. Your current monthly income. Subtract the total in line 13 from line 12.


     15. Calculate your current monthly income for the year. Follow these steps:


      15a. Copy line 14 here →...............................................................................................................................................................                                     $0.00

              Multiply line 15a by 12 (the number of months in a year).                                                                                                                                             x 12
                                                                                                                                                                                                                                 $0.00
      15b. The result is your current monthly income for the year for this part of the form.......................................................................



Official Form 122C-1                                          Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                           page 2
                                     Case 18-40950                 Doc 1         Filed 05/05/18              Entered 05/05/18 09:44:28                        Desc Main Document                     Page 60 of 66
Debtor 1                     John                                                                     Rutledge                                                                     Case number (if known)
                             First Name                         Middle Name                           Last Name


      16. Calculate the median family income that applies to you. Follow these steps:

        16a. Fill in the state in which you live.                                                                                      Texas
        16b. Fill in the number of people in your household.                                                                              4

        16c. Fill in the median family income for your state and size of household. ....................................................................................                                                    $78,572.00
               To find a list of applicable median income amounts, go online using the link specified in the separate
               instructions for this form. This list may also be available at the bankruptcy clerk’s office.

      17. How do the lines compare?

        17a.     ✔
                 ❑      Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined under 11 U.S.C. §
                        1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Your Disposable Income (Official Form 122C–2).
        17b.     ❑      Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under 11 U.S.C. § 1325(b)(3). Go
                        to Part 3 and fill out Calculation of Your Disposable Income (Official Form 122C–2). On line 39 of that form, copy your current monthly income
                        from line 14 above.
Part 3: Calculate Your Commitment Period Under 11 U.S.C. §1325(b)(4)


      18. Copy your total average monthly income from line 11. .............................................................................................................                                                     $0.00


      19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you contend that calculating
          the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your spouse’s income, copy the amount from line
          13.
   19a. If the marital adjustment does not apply, fill in 0 on line 19a. .....................................................................................................                                        -          $0.00
   19b. Subtract line 19a from line 18.                                                                                                                                                                                         $0.00


      20. Calculate your current monthly income for the year. Follow these steps.

   20a. Copy line 19b.............................................................................................................................................................................                               $0.00
           Multiply by 12 (the number of months in a year).                                                                                                                                                          x 12
                                                                                                                                                                                                                                $0.00
   20b. The result is your current monthly income for the year for this part of the form.

                                                                                                                                                                                                                            $78,572.00
   20c. Copy the median family income for your state and size of household from line 16c. ...............................................................

      21. How do the lines compare?

   ✔
   ❑     Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3,
         The commitment period is 3 years. Go to Part 4.
   ❑     Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form,
         check box 4, The commitment period is 5 years. Go to Part 4.
Part 4: Sign Below



      By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.


           X /s/ John Rutledge                                                                                                             X
                  Signature of Debtor 1                                                                                                           Signature of Debtor 2

                 Date             05/05/2018                                                                                                    Date
                               MM/DD/YYYY                                                                                                                    MM/DD/YYYY

      If you checked 17a, do NOT fill out or file Form 122C–2.

      If you checked 17b, fill out Form 122C–2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.




Official Form 122C-1                                          Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                          page 3
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                                                      05/05/18 Entered
                                                        THE UNITED     05/05/18
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                                                                           BANKRUPTCY    COURTMain Document                  Page 61 of 66
                                                             EASTERN DISTRICT OF TEXAS
                                                                 SHERMAN DIVISION

IN RE: Rutledge, John                                                                        CASE NO

                                                                                             CHAPTER 13




                                                      VERIFICATION OF CREDITOR MATRIX

  The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.


Date       05/05/2018              Signature                                      /s/ John Rutledge
                                                                                John Rutledge, Debtor
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Ad Astra Recovery Service
7330 W. 33rd Street
Wichita, KS 67205




Americollect
1851 S. Alverno Rd.
Manitowoc, WI 54220




ATT
PO Box 53621
Atlanta, GA 30353




Comerica Bank
8225 Preston Rd.
Dallas, TX 75225




Conn Credit co.
PO Box 2358
Beaumont, TX 77704-2358




Credit Protection Associates
13355 Noel Rd., Ste.: 2100
Dallas, TX 75240




Credit Service Co.
PO Box 1120
colorado Springs, CO 80901




Credit Systems
P O Box 1088
Arlington, TX 76004
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Direct TV
N/A
N/A, TX 75034




Diversified Consultants
10550 Deerpark Blvd., Ste. 309
Jacksonville, FL 32256




Enhanced Recovery Company
PO Box 57547
Jacksonville, FL 32241




Federal Tax lien




Federal Tax Lien




Grande Communications
500 Tittle Rd., Unit 400
Lewisville, TX 75056




IC Systems
PO Box 63478
St. Paul, MN 55164




Steven Mancillas
8150 Brookriver Dr # 305
Dallas, TX 75247-4068
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Medical Health Imaging
Partners
12201 Merit Dr., Ste. 100
allas, TX 75251



Money Key
N/A
N/A, TX 75034




North Texas Tollway Authority
Po Box 260928
Plano, TX 75026-0928




Plaza Services
110 Hammond Drive
atlanta, GA 30328




Pratt Book, PLLC
Hall Office Park
2591 Dallas Pkwy Ste 505
Frisco, TX 75034-8564



Progressive County Mutual
6300 Wilson Mills Rd.
Mayfield Village, OH 44143




Radiology Assoc. of North
Texas
816 W Cannon St.
Fort Worth, TX 76104



Southwest Diagnostics
8230 Walnut Hill Ln. ,suite 100
Dallas, TX 75231
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T Mobile
N/A
N/A, TX 75034




The Best Service Co.
6700 s. Centinella Ave., 3rd Floor
Culver City, CA 90230




The Receivable Management
Services
240 Emery St.
Bethlehem, PA 18015



Title Max
4700 TX hwy. 121
Plano, TX 75024




Vaquero Motors
945 E. Jefferson Blvd.
Dallas, TX 75203
                               Case 18-40950       Doc 1    Filed 05/05/18    Entered 05/05/18 09:44:28          Desc Main Document         Page 66 of 66
 Fill in this information to identify your case:

  Debtor 1              John                                        Rutledge
                        First Name             Middle Name          Last Name

  Debtor 2              First Name             Middle Name          Last Name
  (Spouse, if filing)

  United States Bankruptcy Court for the:                           Eastern District of Texas

  Case number                                                                                                                                      ❑Check if this is an
  (if known)                                                                                                                                          amended filing


Official Form 103A
Application for Individuals to Pay the Filing Fee in Installments                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.


 Part 1: Specify Your Proposed Payment Timetable

                                                               ❑      Chapter 7
 1. Which chapter of the Bankruptcy Code are
    you choosing to file under?                                ❑      Chapter 11
                                                               ❑      Chapter 12
                                                               ✔
                                                               ❑      Chapter 13


 2. You may apply to pay the filing fee in up to            You propose to pay...
    four installments. Fill in the amounts you
    propose to pay and the dates you plan to pay                                           ❑With the filing of the
    them. Be sure all dates are business days.                               $77.50           petition
    Then add the payments you propose to pay.                                              ✔On or before this date..
                                                                                           ❑                                05/07/2018
                                                                                                                           MM / DD / YYYY
     You must propose to pay the entire fee no later than
     120 days after you file this bankruptcy case. If the                    $77.50        On or before this date.......    06/07/2018
     court approves your application, the court will set                                                                   MM / DD / YYYY
     your final payment timetable.
                                                                             $77.50        On or before this date.......    07/07/2018
                                                                                                                           MM / DD / YYYY

                                                                             $77.50        On or before this date.......    08/07/2018
                                                                                                                           MM / DD / YYYY


                                                   Total                  $310.00 ◀ Your total must equal the entire fee for the chapter you checked in line 1.



 Part 2: Sign Below

 By signing here, you state that you are unable to pay the full filing fee at once, that you want to pay the fee in installments, and that you understand that:

 ■   You must pay your entire filing fee before you make any more payments or transfer any more property to an attorney, bankruptcy petition preparer, or anyone else for
     services in connection with your bankruptcy case.

 ■   You must pay the entire fee no later than 120 days after you first file for bankruptcy, unless the court later extends your deadline. Your debts will not be discharged until
     your entire fee is paid.

 ■   If you do not make any payment when it is due, your bankruptcy case may be dismissed, and your rights in other bankruptcy proceedings may be affected.


✘    /s/ John Rutledge                                        ✘                                                             ✘   /s/ Austin Butts
     Signature of Debtor 1                                         Signature of Debtor 2                                        Austin Butts
                                                                                                                                Your attorney’s name and signature, if you used
                                                                                                                                one
     Date 05/05/2018                                               Date                                                         Date 05/05/2018
               MM / DD / YYYY                                             MM / DD / YYYY                                                 MM / DD / YYYY




Official Form 103A                                              Application for Individuals to Pay the Filind Fee in Installments                                                 page 1
